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             United States Court of Appeals
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued May 11, 2023                Decided October 20, 2023

                                    No. 22-3062

                            UNITED STATES OF AMERICA,
                                    APPELLEE

                                          v.

                                THOMAS ROBERTSON,
                                   APPELLANT


                     Appeal from the United States District Court
                             for the District of Columbia
                                (No. 1:21-cr-00034-1)



                Timothy Cone, appointed by the court, argued the cause
            and filed the briefs for appellant.

                 James I. Pearce, Special Assistant U.S. Attorney, U.S.
            Department of Justice, argued the cause for appellee. With him
            on the brief was Chrisellen R. Kolb, Assistant U.S. Attorney.
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                Before: HENDERSON, PILLARD and PAN, Circuit Judges.

                Opinion for the Court filed by Circuit Judge PAN.

                Dissenting opinion filed by Circuit Judge HENDERSON.

                 PAN, Circuit Judge:         Defendant-appellant Thomas
            Robertson participated in the riot that took place on January 6,
            2021, at the United States Capitol. The riot interrupted and
            delayed Congress’s certification of the Electoral College vote
            that determined the outcome of the 2020 presidential election.
            A jury convicted Robertson of obstructing the vote
            certification, in violation of 18 U.S.C. § 1512(c)(2). In this
            appeal, Robertson contends that the evidence was insufficient
            to show that he acted “corruptly,” as § 1512(c)(2) requires. He
            also challenges his 87-month sentence, making new arguments
            on appeal that the district court erred in applying two specific
            offense characteristics for obstruction of the “administration of
            justice.” Because the evidence was sufficient to establish that
            Robertson acted “corruptly,” and the district court did not
            plainly err in applying the specific offense characteristics, we
            affirm.

                                   I. BACKGROUND

                                           A.

                 January 6, 2021, was a significant day. It was the day on
            which the United States Congress convened to declare the
            winner of the 2020 presidential election, after certifying the
            Electoral College vote. The vote certification must take place
            on January 6 following an election, after electors have met in
            their respective states, cast their votes for President and Vice
            President, and transmitted their certified and sealed ballots to
            the President of the Senate. U.S. Const. amend. XII; 3 U.S.C
            § 15 (2018), amended by Consolidated Appropriations Act,
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            136 Stat. 4459, 5238 (2022). To certify the vote, the Vice
            President of the United States, acting as President of the
            Senate, “shall, in the presence of the Senate and House of
            Representatives, open all the certificates and the votes shall
            then be counted.” U.S. Const. amend. XII. “The person having
            the greatest number of votes for President, shall be the
            President, if such number be a majority of the whole number
            of Electors appointed.” Id. “Such joint session shall not be
            dissolved until the count of electoral votes shall be completed
            and the result declared.” 3 U.S.C. § 16 (2018), amended by
            136 Stat. 4459, 5240 (2022). The vote certification is thus a
            pivotal moment in the peaceful transition of presidential power
            in the United States.

                 Thomas Robertson is an Army veteran, who was
            employed as a police sergeant in Rocky Mount, Virginia. He
            believed that the results of the 2020 presidential election were
            “rigged.” Gov’t’s Suppl. App. (“S.A.”) 110. In the aftermath
            of the election, he repeatedly shared his views on social media.
            He posted messages like the following: “I won’t be
            disenfranchised. I’ll follow the path our founders gave us.
            Redress of grievances (already done) civil disobedience (here
            now) and then open armed rebellion. I’ve spent the last 10
            years fighting an insurgency in Iraq and then Afghanistan.
            [I’m] prepared to start one here . . . .” Id. at 190. Because he
            was “tired of always taking the high road and being beat by
            those who cheat, lie, and [steal] to win,” id., Robertson made
            plans to travel to Washington, D.C., on January 6, 2021, when
            Congress would be in session to certify the results of the
            election.

                 Robertson invited two companions to travel with him to
            the District of Columbia on January 6: a work colleague, Jacob
            Fracker, and a neighbor. Robertson packed ready-to-eat meals,
            water, gas masks, and a large stick into his car. He drove
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            Fracker and the neighbor to a metro station outside of the
            District; they then took a train into the city. The three men
            attended a rally near the Washington Monument, where they
            listened to speeches by Rudolph Giuliani and former President
            Donald Trump. They then joined a crowd that was headed to
            the Capitol. When they arrived at a lower plaza on the west
            side of the Capitol building, “[a] huge crowd [was] getting
            pretty out of hand.” S.A. 121. The crowd was “yelling” and
            “screaming.” Id. “[P]eople were throwing things,” like “flash
            bangs” and “smoke grenades,” so Robertson and his
            companions donned their gas masks. Id. at 121, 124-25. When
            Metropolitan Police Department officers tried to move through
            the crowd, Robertson blocked their way by standing in front of
            them with his stick in a “tactical” grip that allowed offensive
            and defensive movement. Trial Tr. 521:17–523:23, ECF No.
            108; S.A. 85. Robertson used the stick to hit one officer and
            “swipe[]” at another. S.A. 103.

                 Robertson and Fracker followed a group that had broken
            through scaffolding on the west side of the Capitol, heading up
            a set of stairs and into a courtyard just outside the building.
            They crossed barricades and passed outnumbered officers who
            were trying to keep rioters out of the area. As Robertson and
            Fracker went up the stairs, another rioter threw a “stick-like
            object” at officers. S.A. 132–33.

                 Although they were briefly separated, both Robertson and
            Fracker entered the Capitol building at around 2:16 p.m.,
            minutes after other members of the mob first breached the
            building at 2:13 p.m. Fracker observed rioters climbing
            through windows to gain access to the Capitol. He also saw
            broken glass and overturned furniture, and heard an alarm
            blaring. Robertson and Fracker made their way to the Capitol
            Crypt, where they took “selfie[s]” and other photos of the
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            chaos. The Crypt was filled with rioters who began chanting,
            and Robertson pounded his stick on the floor to their beat.

                 When Robertson entered the Capitol building, the House
            and the Senate “were meeting in both the House and Senate
            chambers of the Capitol to certify the vote count of the electoral
            college of the 2020 presidential election which had taken place
            on Tuesday, November 3, 2020.” Trial Tr. 641:13–18, ECF
            No. 109. The Vice President was in the building and presiding
            over the joint session. Id. at 641:23–25. Robertson was part
            of the mob that forced members of Congress to flee from the
            Senate chamber at 2:12 p.m. and from the House chamber at
            2:30 p.m. See id. at 642:3–18. Even after the rioters had been
            cleared, the chaos and disruption caused by the mob prevented
            the Senate and the House from resuming their work until “8:06
            p.m. and 9:02 p.m., respectively.” Id. at 642:14–15.

                 After January 6, Robertson celebrated his participation in
            the riot on social media. He posted one message stating, “We
            were stomping on the roof of their safe room chanting
            WHOS[E] HOUSE? OUR HOUSE,” S.A. 186; and another
            stating, “[I’ve] seen for the first time in my life . . . [a]
            government scared of its people. The pictures of them huddled
            in the floor crying is the most American thing I have ever
            seen.” Id. at 192–93. Commenting on a photo of himself with
            Fracker in the Crypt, Robertson proclaimed: “I am fucking
            PROUD of it. It shows 2 men willing to actually put skin in
            the game and stand up for their rights. . . . Enjoy your feel good
            protests and fame. I’ll simply accept a ‘Thank you’ for the very
            blanket of freedom that you live and sleep under.” Id. at 180–
            81. He also said that “CNN and the Left are just mad because
            we actually attacked the government who is the problem . . . .
            The Right IN ONE DAY . . . took the fucking U.S. Capitol.
            Keep poking us.” Id. at 184–85. He described his actions as
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            “storm[ing]” the Capitol, id. at 193, and as being “part of the
            next American revolution,” id. at 187.

                 Law-enforcement authorities informed Robertson and
            Fracker that warrants had been issued for their arrest, and gave
            them an opportunity to turn themselves in. Before they
            surrendered, Robertson took his and Fracker’s phones and hid
            them. When officers later searched Robertson’s home, they
            found a cell phone that had been activated the day after his
            arrest. They also discovered that Robertson had texted a friend
            that “[a]nything that may have been problematic is destroyed,”
            “[i]ncluding [his] old phone” that “[t]ook a lake swim” and
            “had a tragic boating accident.” S.A. 196, 198–200.

                                           B.

                 Robertson was charged with “corruptly” obstructing
            Congress’s certification of the Electoral College vote, in
            violation of 18 U.S.C. § 1512(c)(2). He also was charged with
            five additional offenses, including three more felony counts:
            knowingly entering a restricted building when the Vice
            President was there, while carrying a deadly and dangerous
            weapon (the large wooden stick), in violation of 18 U.S.C.
            § 1752(a)(1); knowingly impeding the orderly conduct of
            government business, while carrying a deadly and dangerous
            weapon (the large wooden stick), in violation of 18 U.S.C.
            § 1752(a)(2); and altering, destroying, mutilating, or
            concealing cell phones with intent to impair their use in an
            ensuing investigation (here, the grand jury investigation of the
            January 6 riot and Robertson’s criminal prosecution), in
            violation of 18 U.S.C. § 1512(c)(1).            See 18 U.S.C.
            § 1752(b)(1)(A) (providing that a violation of § 1752(a) shall
            be a felony if “during and in relation to the offense, [a person]
            uses or carries a deadly or dangerous weapon or firearm”). The
            remaining charges were misdemeanors: interfering with law
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            enforcement officers during the commission of a civil disorder,
            in violation of 18 U.S.C. § 231(a)(3) and 18 U.S.C. § 2; and
            engaging in disorderly and disruptive conduct in a Capitol
            building with the intent to disturb the orderly conduct of
            Congress, in violation of 40 U.S.C. § 5104(e)(2)(D).

                 Robertson moved to dismiss the § 1512(c)(2) charge,
            which alleged that he “corruptly” obstructed, influenced, or
            impeded the vote certification. He argued that the term
            “corruptly” is ambiguous, and that the statute was
            unconstitutionally vague as applied to him because it did not
            give him fair notice that his conduct was unlawful. The district
            court denied the motion, explaining that “corruptly” means
            “acting ‘with consciousness of wrongdoing.’” United States v.
            Robertson (Robertson I), 588 F. Supp. 3d 114, 123 (D.D.C.
            2022) (citing Arthur Andersen LLP v. United States, 544 U.S.
            696, 705–06 (2005)).

                 Robertson’s case proceeded to trial. At the close of the
            government’s case, and again at the close of all the evidence,
            Robertson moved for judgment of acquittal under Rule 29 of
            the Federal Rules of Criminal Procedure. He argued that the
            government had failed to prove that he had acted “corruptly.”
            The district court reserved ruling on his motions until after the
            jury’s verdict.

                 Robertson revisited the definition of “corruptly” in his
            proposed jury instructions. He requested that the jury be
            instructed as follows:

                     To act “corruptly,” the defendant must use
                     unlawful means or have a wrongful or an
                     unlawful purpose, or both. An act is done
                     “corruptly” if the defendant acted knowingly
                     and dishonestly, with the specific intent to
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                     subvert or undermine the due administration of
                     justice. The defendant must also act with
                     “consciousness           of        wrongdoing.”
                     “Consciousness of wrongdoing” means with an
                     understanding or awareness that what the
                     person is doing is wrong or unlawful. Not all
                     attempts to obstruct or impede an official
                     proceeding involve acting corruptly.           For
                     example, a witness in a court proceeding may
                     refuse to testify by invoking his constitutional
                     privilege against self-incrimination, thereby
                     obstructing or impeding the proceeding, but he
                     does not act corruptly. In contrast, an individual
                     who obstructs or impedes a court proceeding by
                     bribing a witness to refuse to testify in that
                     proceeding, or by engaging in other
                     independently unlawful conduct, does act
                     corruptly.

            S.A. 35 (citation omitted). The government objected to the
            reference to “dishonestly” as duplicative and unnecessary.

                 The district court declined to adopt the requirement of
            “dishonestly” but otherwise gave an instruction that largely
            tracked what Robertson had requested. The final instruction
            on “corruptly” provided:

                     To act corruptly the defendant must use
                     unlawful means, or act with an unlawful
                     purpose, or both. The defendant must also act
                     with     consciousness    of    wrongdoing.
                     Consciousness of wrongdoing means with an
                     understanding or awareness that what the
                     person is doing is wrong. Not all attempts to
                     obstruct or impede an official proceeding
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                     involve acting corruptly. For example, a
                     witness in a court proceeding may refuse to
                     testify by invoking his constitutional privilege
                     against self-incrimination, thereby obstructing
                     or impeding the proceeding. But he does not act
                     corruptly. In contrast, an individual who
                     obstructs or impedes a court proceeding by
                     bribing a witness to refuse to testify in that
                     proceeding or by engaging in other
                     independently unlawful conduct does act
                     corruptly.

            S.A. 203; see also ECF No. 86 (Final Jury Instructions). The
            jury found Robertson guilty on all counts.

                 After the trial, Robertson renewed his motion for judgment
            of acquittal on the § 1512(c)(2) count. He again asserted that
            “corruptly” is unconstitutionally vague. He also argued for the
            first time that the government did not prove that he acted
            corruptly because it did not show that he “acted knowingly and
            dishonestly with the intent to obtain an unlawful advantage for
            himself or an associate.” Robertson’s App. (“App.”) 38.

                 The district court denied the motion, reiterating that
            “corruptly” is not unconstitutionally vague and that the term
            means acting with consciousness of wrongdoing and with
            independently unlawful means or purpose. United States v.
            Robertson (Robertson II), 610 F. Supp. 3d 229, 233, 236
            (D.D.C. 2022). The court further determined that the evidence
            supported the jury’s finding that Robertson acted “corruptly.”
            Id. at 236. The district court relied on evidence that Robertson
            “engaged in other independently unlawful conduct, by entering
            and remaining in a restricted area without lawful authority and
            by engaging in disruptive and disorderly conduct in a restricted
            area,” and determined that such evidence demonstrated “using
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             unlawful means or acting with an unlawful purpose.” Id.
             (cleaned up).

                  Robertson faced a statutory maximum sentence of 20
             years’ imprisonment for his convictions under 18 U.S.C.
             § 1512(c)(1) and (c)(2), while his other felony convictions each
             carried a statutory maximum of 10 years’ imprisonment, see 18
             U.S.C. § 1752(b)(1)(A).          The district court sentenced
             Robertson to a total of 87 months’ imprisonment (seven years
             and three months), followed by 36 months of supervised
             release. That sentence was at the bottom of the calculated
             guidelines range of 87 to 108 months, which was based on a
             total offense level of 29 and a Category I criminal history. To
             determine the offense level, the district court first looked to the
             obstruction-of-justice sentencing guideline, U.S.S.G. § 2J1.2,
             which has a base offense level of 14. Over Robertson’s
             objections, the court then added 15 more levels to the offense:
             an eight-level increase for “causing or threatening to cause
             physical injury to a person, or property damage, in order to
             obstruct the administration of justice,” U.S.S.G.
             § 2J1.2(b)(1)(B); a three-level increase because “the offense
             resulted in substantial interference with the administration of
             justice,” id. § 2J1.2(b)(2); a two-level adjustment for being an
             organizer of criminal activity, id. § 3B1.1(c); and another two-
             level enhancement for obstruction of justice based on
             destroying his and Fracker’s cell phones, id. § 3C1.1.

                                       II. ANALYSIS

                                             A.

                  Robertson challenges his conviction under 18 U.S.C.
             § 1512(c)(2), which prohibits “corruptly . . . obstruct[ing],
             influenc[ing], or imped[ing] any official proceeding, or
             attempt[ing] to do so.” The jury was instructed that, in order
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             to convict Robertson of violating § 1512(c)(2), it had to find
             beyond a reasonable doubt that he (1) “attempted [to] or did
             obstruct or impede an official proceeding”; (2) “acted with the
             intent to obstruct or impede the official proceeding”; (3) “acted
             knowingly with awareness that the natural and probable effect
             of his conduct would be to obstruct or impede the official
             proceeding”; and (4) “acted corruptly.” Trial Tr. 980:14-20,
             981:6-8, ECF No. 111. On appeal, Robertson takes issue with
             only the “corruptly” element. He does not challenge any of the
             other elements or dispute that they were met.

                  Robertson contends that the evidence presented at his trial
             was insufficient to prove that he acted “corruptly.” The district
             court held that “corruptly” signifies acting with independently
             unlawful means, unlawful purpose, or both, and with
             consciousness of wrongdoing. Robertson II, 610 F. Supp. 3d
             at 233, 236. Although Robertson previously endorsed most of
             the district court’s definition, he now argues that a proper
             construction of “corruptly” holds a different meaning. He
             claims that the term describes only “an act dishonestly done
             ‘with a hope or expectation of either financial gain or other
             benefit to oneself or a benefit to another person.’” Opening Br.
             21 (quoting United States v. Aguilar, 515 U.S. 593, 616–17
             (1995) (Scalia, J., concurring in part and dissenting in part)).
             Under that interpretation, he urges, the trial evidence was
             insufficient to prove that he “corruptly” obstructed an official
             proceeding. He contends that he did not act “dishonestly,” that
             he did not seek any personal benefit by participating in the
             January 6 riot, and that any benefit to former President Trump
             was “too remote” to be considered. Id.

                 We conclude that “corruptly” must be construed according
             to its plain meaning; that the “corruptly” element in
             § 1512(c)(2) delineates whether a defendant’s conduct is
             culpable; and that there are a range of ways to prove a
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             defendant’s “corrupt” intent or action. On review of the
             sufficiency of the evidence, we need only determine that the
             “corruptly” element was satisfied by the evidence presented in
             Robertson’s trial. See Musacchio v. United States, 577 U.S.
             237, 243 (2016). We hold that the jury could have found,
             consistent with the district court’s instructions, that Robertson
             acted “corruptly” based on evidence that he used felonious
             “unlawful means” to obstruct, impede, or influence the
             Electoral College vote certification. The evidence was
             therefore sufficient to support Robertson’s conviction of
             violating § 1512(c)(2). Robertson’s contention that his
             preferred definition of “corruptly” is the sole and exclusive
             meaning of that term finds no support in the text, structure, or
             context of the statute, and is inconsistent with relevant
             precedents.

                                               1.

                  Robertson frames his claim as one of insufficient
             evidence.1 The parties agree that our standard of review is de
             novo. Gov’t Br. 21; Def. Br. 12. The government further states
             that our review does not rest on how the jury was instructed
             and that we should assess Robertson’s claim based on how a
             properly instructed jury would assess the evidence. See Gov’t
             Br. 21 (citing United States v. Hillie, 39 F.4th 674, 679–80




             1
                  It may be that the type of claim brought by Robertson, in which
             he essentially asserts that the jury instructions omitted a requirement
             under the statute, is not properly characterized as a challenge to the
             sufficiency of the evidence. See United States v. Reynoso, 38 F.4th
             1083, 1086–87 (D.C. Cir. 2022). But the government does not
             question the framing of Robertson’s claim.
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             (D.C. Cir. 2022); Reynoso, 38 F.4th at 1089).2 We thus apply
             that standard even though Robertson’s claim on appeal is
             inconsistent with the jury instruction that he requested in the
             trial court.

                  In reviewing the sufficiency of the evidence de novo, we
             consider the evidence “in the light most favorable to the
             government.” United States v. Shi, 991 F.3d 198, 205 (D.C.
             Cir. 2021). “As an appellate court, we owe tremendous
             deference to a jury verdict.” United States v. Long, 905 F.2d
             1572, 1576 (D.C. Cir. 1990). We must affirm where “any
             rational trier of fact” could have found guilt beyond a
             reasonable doubt. Id. (emphasis in original) (quoting Jackson
             v. Virginia, 443 U.S. 307, 319 (1979)). Our task here is to
             make only a “limited inquiry” — we must examine the record
             in this case just to determine the sufficiency of the evidence to
             support Robertson’s conviction. Musacchio, 577 U.S. at 243
             (“On sufficiency review, a reviewing court makes a limited
             inquiry tailored to ensure that a defendant receives the
             minimum that due process requires . . . .”). We start by
             determining the meaning of “corruptly” and then assess
             whether the evidence presented at Robertson’s trial was
             sufficient to prove that element.

                                              2.

                 In defining “corruptly,” we do not write on a clean slate.
             Both the Supreme Court and this court have examined the
             meaning of “corruptly” in statutes that address obstructive

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                  Although Hillie is arguably distinguishable from the case at bar
             because the instructional error in that case was preserved with a
             specific objection, Hillie, 39 F.4th at 679–80, the government does
             not make that distinction and does not request a different standard of
             review from that applied in Hillie.
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             behavior. See Arthur Andersen, 544 U.S. at 704–07 (analyzing
             18 U.S.C. § 1512(b)(2)(A) and (B), which prohibits
             “knowingly . . . corruptly persuad[ing] another” to withhold,
             alter, or conceal evidence for use in an official proceeding);
             United States v. North, 910 F.2d 843, 881 (D.C. Cir. 1990),
             opinion withdrawn and superseded on other grounds on reh’g,
             920 F.2d 940 (D.C. Cir. 1990) (analyzing 18 U.S.C. § 1505,
             which prohibits “corruptly . . . influenc[ing], obstruct[ing], or
             imped[ing] or endeavor[ing] to influence, obstruct, or impede”
             a congressional inquiry). As in those cases, we must begin with
             the statutory text. Because Congress has not defined
             “corruptly” in § 1512(c)(2), we must look to the word’s
             ordinary meaning. See Mohamad v. Palestinian Auth., 566
             U.S. 449, 454 (2012); North, 910 F.2d at 881; Arthur Andersen,
             544 U.S. at 705.

                  The Supreme Court noted in Arthur Andersen that the
             “natural meaning” of “corruptly” is “clear”: The word is
             “normally associated with wrongful, immoral, depraved, or
             evil.” Arthur Andersen, 544 U.S. at 705. Similarly, we stated
             in North that “‘corruptly’ is the adverbial form of the adjective
             ‘corrupt,’ which means ‘depraved, evil: perverted into a state
             of moral weakness or wickedness.’” North, 910 F.2d at 881
             (quoting Corrupt, Webster’s Third New International
             Dictionary 512 (1976)). Those cases provide guidance on how
             to apply the ordinary meaning of “corruptly” in statutory
             interpretation. Arthur Andersen, 544 U.S. at 705 (the “natural
             meaning” of “corruptly” “provides a clear answer” for how it
             should be applied in the statute); North, 910 F.2d at 882, 884
             (“corruptly” is to be understood according to its “common
             meaning[]”).

                  In Arthur Andersen, the Supreme Court reviewed the jury
             instructions for an obstruction charge arising from conduct that
             could have been either an ordinary business practice or
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             criminal obstruction: document shredding. 544 U.S. at 703–
             08. In that case, the Court reversed the conviction of
             accounting firm Arthur Andersen LLP under 18 U.S.C.
             § 1512(b) for instructing its employees to destroy documents
             of its client, the Enron Corporation, in advance of a
             government investigation. Id. at 698–702. The Court
             recognized that instructing employees to shred documents
             pursuant to a corporate document-retention policy was not
             necessarily criminal. Id. at 704. To determine whether Arthur
             Andersen’s behavior was culpable, the Court looked to the
             ordinary meaning of “corruptly”: “wrongful, immoral,
             depraved, or evil.” Id. at 705. Then, because § 1512(b)
             penalizes “knowingly . . . corruptly persuad[ing],” the Court
             paired the ordinary meaning of “knowingly” with the ordinary
             meaning of “corruptly” to hold that the statute required
             “consciousness of wrongdoing.” Id. at 705–06. Importantly,
             the Court noted that the “knowingly corruptly” element
             ensured that “only those with the level of ‘culpability . . . we
             usually require in order to impose criminal liability’” could be
             convicted. Id. at 706 (quoting Aguilar, 515 U.S. at 602).

                  Like the Supreme Court, we have relied on the ordinary
             meaning of “corruptly.” In North, we reviewed a conviction
             under 18 U.S.C. § 1505 for aiding and abetting an endeavor to
             obstruct the congressional investigation of the Iran/Contra
             affair. 910 F.2d at 851–52. The defendant argued that his
             obstructive actions were authorized by his superiors, and that
             he therefore did not act “corruptly.” Id. at 878. Interpreting
             “corruptly” as used in § 1505, we recognized that ordinary
             meanings of the word include “depraved, evil: perverted into a
             state of moral weakness or wickedness.” Id. at 881. We held
             that the defendant was “entitled only . . . to a jury that applied
             ‘corruptly’ according to its usual definitions” or “common
             meaning[].” Id. at 882, 884. We recognized, however, that
             proof of “corrupt” intent or action may vary depending on
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             circumstances. We noted that several courts of appeal
             reviewing convictions under § 1503 — which prohibits corrupt
             obstruction of the “due administration of justice” — have said
             that “the word ‘corruptly’ means nothing more than an intent
             to obstruct the proceeding,” because there are “very few non-
             corrupt ways to or reasons for intentionally obstructing a
             judicial proceeding.” Id. at 882. In other words, knowingly
             obstructing a judicial proceeding — such as by destroying
             evidence or threatening jurors — may be viewed as inherently
             corrupt. Id.; see also United States v. Fischer, 64 F.4th 329,
             355 (D.C. Cir. 2023) (Walker, J., concurring in part and
             concurring in the judgment); id. at 373 (Katsas, J., dissenting).
             By contrast, “to assert that all endeavors to influence, obstruct
             or impede the proceedings of congressional committees are, as
             a matter of law, corrupt [] would undoubtedly criminalize some
             innocent behavior.” North, 910 F.2d at 882. That is because
             “congressional committees are part and parcel of a political
             branch of government” that is engaged in making legislative
             and policy choices. Id. It is thus commonplace for people —
             such as lobbyists, protesters, and constituents — to lawfully
             “attempt, in innumerable ways, to obstruct or impede
             congressional committees.” Id.3

             3
                   Our dissenting colleague errs in asserting that we “expressly
             rejected” defining “corruptly” according to its ordinary meaning and
             dictionary definition in United States v. Poindexter, 951 F.2d 369
             (D.C. Cir. 1991). Dissenting Op. 28. We held in that case that the
             term “corruptly” as used in 18 U.S.C. § 1505 was vague as applied
             to Poindexter’s alleged conduct — lying to Congress. Poindexter,
             951 F.2d at 379 (“As used in § 1505, . . . we find that the term
             ‘corruptly’ is too vague to provide constitutionally adequate notice
             that it prohibits lying to the Congress.”). But we expressly declined
             to conclude that “the ambiguity of the term ‘corruptly’ in § 1505
             renders that term unconstitutionally vague as applied to all conduct.”
             Id. at 385. Because Poindexter’s holding focused on whether § 1505
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                                                17
                  Arthur Andersen and North show that the type of
             proceeding and the nature of a defendant’s conduct matter. In
             contexts where obstructive actions are not inherently corrupt,
             the requirement to act “corruptly” separates innocent from
             illegal behavior. See Arthur Andersen, 544 U.S. at 706. The
             “corruptly” element protects non-culpable conduct — such as
             a corporation following a document retention policy for routine
             reasons, id. at 704, or lobbyists and protestors exercising their
             rights to influence a congressional committee hearing, North,
             910 F.2d at 882 — from being swept up by the statute’s broad
             prohibition on “obstructing, influencing or impeding an official
             proceeding.” Those cases confirm, moreover, that the
             requirement that a defendant act “corruptly” is met by
             establishing that the defendant acted with a corrupt purpose or
             via independently corrupt means. Id.; see id. at 942–43
             (Silberman, J., concurring in part and dissenting in part) (“[T]o
             say that someone corruptly endeavors to obstruct an inquiry
             might mean (1) that he does so with a corrupt purpose, or
             (2) that he does so by independently corrupt means, or (3)
             both.”).

                  North suggests that where an individual “chooses the
             illegal or dubious course” to obstruct a congressional
             proceeding when a lawful means was available, no further
             showing of “corrupt motive” is required beyond his intent to
             commit the illegal, obstructive act. North, 910 F.2d at 883–84
             (rejecting defendant’s argument that he did not act “corruptly”
             if his supervisors authorized his conduct where evidence
             showed that he employed unlawful means to do their bidding);


             was unconstitutionally vague as applied to the specific conduct at
             issue in that case, it is not helpful in interpreting whether Robertson’s
             very different conduct in obstructing the Electoral College vote
             certification was sufficient to establish “corrupt” intent or action
             under § 1512(c)(2).
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                                            18
             see also Aguilar, 515 U.S. at 616 (Scalia, J., concurring in part
             and dissenting in part) (citing with approval a jury instruction
             for 18 U.S.C. § 1503 stating that “[a]n act is done corruptly if
             it’s done voluntarily and intentionally to bring about either an
             unlawful result or a lawful result by some unlawful method”
             (emphasis added)). In concluding that reliance on corrupt
             means is appropriate, Judge Silberman reasoned in his separate
             opinion in North that the “adverbial words or phrases
             ‘corruptly,’ ‘by threats or force,’ and ‘by any threatening letter
             or communication’ [in § 1505] are equated, suggesting that
             Congress meant ‘corruptly’ to refer to the means by which the
             defendant endeavored to influence or impede a congressional
             inquiry.” 910 F.2d at 943 (Silberman, J., concurring in part and
             dissenting in part). Thus, a defendant who seeks to influence a
             congressional vote by “brib[ing] the chairman of a
             congressional committee can be said to have acted ‘corruptly’
             no matter how laudable his underlying motive.” Id. Where a
             defendant uses “independently criminal” means, the jury
             “would not necessarily need to probe the morality or propriety
             of the defendant’s purpose.” Id.

                  Where neither the obstruction itself nor the defendant’s
             means of obstruction are “inherently malign,” however,
             consideration of a defendant’s actions alone does not suffice.
             Arthur Andersen, 544 U.S. at 704. In that circumstance, a jury
             must find that the defendant acted with a “corrupt” purpose —
             in other words, a purpose that was “depraved, evil, or
             wrongful.” See North, 910 F.2d at 942–43 (Silberman, J.,
             concurring in part and dissenting in part) (“Whenever the
             means used are not independently criminal, the jury cannot
             avoid considering the defendant’s purpose if it is to
             meaningfully determine whether the endeavor was corrupt or
             evil or depraved.”). As the Supreme Court explained in Arthur
             Andersen, a manager’s instruction to employees to shred
             documents in compliance with an established document
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             retention policy “under ordinary circumstances” is not corrupt,
             544 U.S. at 704; but a manager who knows that the shredded
             documents are relevant to a pending judicial proceeding may
             act “corruptly” in giving the same instruction. Id. at 708.
             Similarly, a jury considering the culpability of a lawyer who
             “advise[d] his client not to testify before a congressional
             committee conducting an inquiry” must consider the lawyer’s
             purpose in giving that advice to “meaningfully determine
             whether the endeavor was corrupt or evil or depraved.” See
             North, 910 F.2d at 943 (Silberman, J., concurring in part and
             dissenting in part). “The obstruction would not be corrupt if
             his purpose were solely to protect his client from possible legal
             difficulties.” Id. “But it might well be corrupt if the lawyer’s
             purpose were to prevent the client from divulging information
             that would implicate the lawyer.” Id.              Thus, under
             circumstances where a defendant’s conduct is not inherently
             corrupt nor his means independently wrongful, “corruptly” can
             be proved by examining the defendant’s purpose.

                  North and Arthur Andersen confirm that there are multiple
             ways to prove that a defendant acted “corruptly.” Those cases
             provide examples of how corrupt intent or action may be
             established and demonstrate that “corruptly” need not be
             proved in the same way in every case. See North, 910 F.2d at
             883 (declining to adopt a rule that a defendant must have a
             “corrupt motive” to act “corruptly” because, “[j]ust as . . . there
             are myriad ways of ‘impeding’ or ‘obstructing’ congressional
             investigations that are not in themselves corrupt; so are there
             equally corrupt ways of impeding or obstructing Congress that
             do not proceed from corrupt motives”). Thus, “choos[ing] the
             illegal or dubious course” to obstruct a congressional
             proceeding can suffice to establish that a defendant acted
             corruptly. Id. at 887. Alternatively, a defendant’s purpose may
             prove to be “corrupt” where, as in the hypothetical of the
             lawyer who convinces his client not to testify against him, the
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                                             20
             defendant “attempt[s] to secure some advantage for himself . . .
             that was . . . not in accordance with [his] legal rights.” Id. at
             944 (Silberman, J., concurring in part and dissenting in part).
             Or one might establish a defendant’s corrupt intent by proving
             that he acted “dishonestly” in “persuad[ing] another to
             withhold information from the Government,” or that he
             committed obstructive acts with “consciousness of
             wrongdoing.” Arthur Andersen, 544 U.S. at 704, 706–07. As
             Congress has recognized in a related context, “the variety of
             corrupt methods by which the proper administration of justice
             may be impeded or thwarted . . . [is] limited only by the
             imagination of the criminally inclined.” Poindexter, 951 F.2d
             at 382 (quoting S. Rep. No. 97-532, at 18 (1982)); see also S.
             Rep. No. 97-532, at 18 (1982) (noting that the “obstruction of
             justice statute,” i.e., what became 18 U.S.C. § 1505, “is an
             outgrowth of Congressional recognition of [a] variety of
             corrupt methods” (quoting Catrino v. United States, 176 F.2d
             884, 887 (9th Cir. 1949))). Congress and the courts have,
             accordingly, both recognized that “corruptly” in obstruction
             statutes can be proved in a variety of ways.

                                             3.

                  For present purposes, we need only identify one way in
             which the evidence at trial could have supported a finding that
             Robertson acted “corruptly” when he obstructed, impeded, or
             influenced the Electoral College vote certification. That is
             because his claim on appeal challenges only the sufficiency of
             the evidence, and evaluating such a claim requires us to make
             only a “limited inquiry.” Musacchio, 577 U.S. at 243. In our
             view, the district court correctly instructed the jury, in relevant
             part, that one way to prove that a defendant acted “corruptly”
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             is to demonstrate that he “obstruct[ed] or impede[d] . . . by
             engaging in other independently unlawful conduct.” S.A. 203.

                  That part of the district court’s instruction falls squarely
             within our holding in North that a defendant acts “corruptly”
             when he “chooses the illegal or dubious course when other
             legal action” is possible. North, 910 F.2d at 883; id. at 942–43
             (Silberman, J., concurring in part and dissenting in part).
             Moreover, courts that have construed “corruptly” in 18 U.S.C.
             § 1512 and in similar obstruction statutes have often focused
             on equating “corruption” with “wrongfulness.” See, e.g.,
             Arthur Andersen, 544 U.S. at 705–06 (defining corruption as
             “wrongdoing” under § 1512(b)(2)(A) and (B)).4 In this
             context, “wrongful” can mean “[a]n act taken in violation of a
             legal duty,” i.e., unlawful. Wrongful Conduct, Black’s Law
             Dictionary (7th ed. 1999); see also Unlawful, Black’s Law
             Dictionary (7th ed. 1999) (“Not authorized by law; illegal.”);
             Matthews, 505 F.3d at 706 (explaining that “wrongfully”
             means acting without “legal right,” such as the right to avoid

             4
                   See also North, 910 F.2d at 942 (Silberman, J., concurring in
             part and dissenting in part) (interpreting “corruptly” as “depraved,
             evil, or wrongful” under 18 U.S.C. § 1505); United States v. Farrell,
             921 F.3d 116, 141 (4th Cir. 2019) (“To act ‘corruptly’ [under
             § 1512(c)(2)] means to act wrongfully.”); United States v.
             Volpendesto, 746 F.3d 273, 286 (7th Cir. 2014) (defining “corruptly”
             under § 1512(c)(2) as acting “with a wrongful purpose”); United
             States v. Mann, 701 F.3d 274, 307 (8th Cir. 2012) (upholding
             convictions under § 1512(c)(1), (c)(2), and (k) where “the jury was
             instructed that ‘corruptly’ means to act with ‘consciousness of
             wrongdoing’”); United States v. Matthews, 505 F.3d 698, 705–07
             (7th Cir. 2007) (approving jury instruction defining “corruptly”
             under § 1512(c)(1) “as acting ‘with the purpose of wrongfully
             impeding the due administration of justice’” (quoting Seventh
             Circuit Pattern Criminal Federal Jury Instructions for 18 U.S.C.
             § 1503 (1999))).
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                                             22
             self-incrimination); United States v. Davis, 183 F.3d 231, 250
             (3d Cir. 1999) (determining that a defendant could be
             convicted of corrupt persuasion in violation of § 1512(b)
             because he persuaded another to “violate his legal duty”),
             amended, 197 F.3d 662 (3d Cir. 1999); United States v. Ogle,
             613 F.2d 233, 238 (10th Cir. 1979) (explaining that “corruptly”
             as used in 18 U.S.C. § 1503 “really means unlawful”). There
             is thus ample precedent for treating acting unlawfully as acting
             “corruptly.”

                  Accordingly, the district court correctly informed the jury
             that it could find that Robertson acted “corruptly” if the
             government proved that he “use[d] [independently] unlawful
             means” when he obstructed, impeded, or influenced the
             Electoral College vote certification. S.A. 203. Defining
             “corruptly” as “wrongfully” — and treating independently
             unlawful conduct as “wrongful” — provides an objective
             measure of culpable conduct that is straightforward to apply:
             A court or a jury can easily determine whether the evidence
             shows that a defendant took unlawful action to obstruct,
             impede, or influence the proceeding. See North, 910 F.2d at
             943 (Silberman, J., concurring in part and dissenting in part).
             Although words like “immoral, depraved, or evil” may also
             accurately convey what it means to be “corrupt,” see Arthur
             Andersen, 544 U.S. at 705; North, 910 F.2d at 881, “wrongful”
             captures the “core” meaning of “corrupt” intent or action and
             readily describes Robertson’s conduct. See Poindexter, 951
             F.2d at 385 (noting that defining “corruptly” as prompting the
             “violat[ion] [of] a legal duty . . . may be useful as a description
             of the ‘core’ behavior to which [18 U.S.C. § 1505] may
             constitutionally be applied”).

                In sum, the ordinary meaning of the word “corruptly” in
             18 U.S.C. § 1512(c)(2) encompasses acting through
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                                               23
             independently unlawful means –– just as the district court
             instructed the jury.5
                                        4.

                  The evidence presented at Robertson’s trial was
             undoubtedly sufficient to prove that he acted “corruptly.” We
             must consider that evidence “in the light most favorable to the
             government.” Shi, 991 F.3d at 205. And we undertake this
             review mindful of the “tremendous deference” owed to a jury
             verdict. Long, 905 F.2d at 1576.

                  Before January 6, Robertson declared his intention to join
             a “counterinsurgency” and to participate in an “open armed
             rebellion.” S.A. 112, 190. To accomplish that end, Robertson
             broke the law in multiple ways. He used a stick to hit a police
             officer and to swipe at another. Wielding that stick as a show
             of force and intimidation, he joined the “out of hand” crowd
             surging into the Capitol building despite the blaring of alarms
             and warnings by police officers that the area was restricted. Id.
             at 83, 85, 121, 140, 142. Once inside the Capitol, he beat his
             stick on the floor while other rioters chanted. The riot, which

             5
                  We note that the district court’s instruction required the jury to
             find that Robertson acted with “consciousness of wrongdoing,” in
             addition to finding that he acted with an unlawful purpose or through
             independently unlawful means. S.A. 203. That “consciousness of
             wrongdoing” standard originated with Arthur Andersen’s
             interpretation of 18 U.S.C. § 1512(b), which makes it a crime for a
             defendant to “knowingly . . . corruptly persuade[]” another to
             obstruct an investigation. See Arthur Andersen, 544 U.S. at 704–06.
             Because § 1512(c)(2) does not contain a “knowingly corrupt”
             requirement, it is not apparent that “consciousness of wrongdoing”
             must be proved in this context. Nevertheless, the jury necessarily
             found that the evidence met that standard when it convicted
             Robertson; and showing “consciousness of wrongdoing” may itself
             suffice to prove corrupt intent. See id. at 706–07.
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                                              24
             Robertson enthusiastically joined, forced both houses of
             Congress to suspend the Electoral College vote certification for
             six to seven hours. That evidence amply supported the jury’s
             finding that Robertson committed two felony offenses to
             obstruct the vote certification: i.e., remaining in a restricted
             building or grounds without lawful authority, and disorderly
             conduct at the Capitol, both with a deadly or dangerous
             weapon. See 18 U.S.C. § 1752(a)(1), (a)(2), (b)(1)(A). In
             other words, a jury could easily find that Robertson acted
             “corruptly” by using independently unlawful, felonious means
             with the intent to obstruct, influence, or impede the electoral-
             vote certification.6

                  Applying the “corruptly” element of the statute in this case
             is “rather simple” because Robertson took action to obstruct
             Congress by force. Cf. North, 910 F.2d at 940 (Silberman, J.,
             concurring in part and dissenting in part) (interpreting 18
             U.S.C. § 1505). Using force to obstruct, influence, or impede
             a congressional proceeding is plainly wrongful and therefore
             corrupt. Thus, this case does not present a close question of
             culpability. Robertson did not argue, for example, that he was
             a mere protestor exercising his First Amendment right to
             peacefully disagree with the outcome of the presidential
             election. The evidence established that Robertson was part of
             a mob that sought to overturn the result of the election by force,
             and that he used a dangerous weapon to impede the Electoral
             College vote certification. Where a defendant acts feloniously
             to obstruct a proceeding before the Congress, with no evidence
             or argument that he was merely engaged in peaceful
             6
                   Robertson and our dissenting colleague argue that relying on
             independently unlawful conduct to prove the “corruptly” element is
             the equivalent of requiring proof of a predicate offense that is not
             listed in the statute. But that is not so. We hold only that proof of
             independently felonious means is a sufficient way to establish
             corrupt intent or conduct.
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                                              25
             expression, his culpability –– i.e., the “corruptness” of his
             actions –– is not difficult to discern.

                  We emphasize that Robertson’s independently wrongful
             conduct was felonious because his resort to felonious means
             unquestionably suffices to establish his culpability. Whether
             § 1512(c)(2) applies to defendants who obstruct Congress by
             means of only “minor advocacy, lobbying, and protest
             offenses,” Fischer, 64 F.4th at 380 (Katsas, J., dissenting), or
             by “non-criminal tortious activity,” Opening Br. 15, is beyond
             the scope of our “limited” review and should be decided in a
             case that requires resolution of that question. See Musacchio,
             577 U.S. at 243. Here, we have no trouble rejecting
             Robertson’s specific claim that the evidence was insufficient to
             support a finding that he acted “corruptly” when he participated
             in the Capitol riot. A jury could find that he used independently
             felonious means to obstruct a congressional proceeding, which
             falls within the core meaning of “corruptly.” See Poindexter,
             951 F.2d at 385.7

                                              5.

                  Robertson advocates a definition of “corruptly” that he
             claims is the sole and exclusive meaning of that term: He
             asserts that the only way to satisfy the element of “corrupt”
             intent under 18 U.S.C. § 1512(c) is to establish “an act
             dishonestly done,” Opening Br. 21, “with a hope or expectation
             of either financial gain or other benefit to oneself or a benefit
             [to] another person,” id. (quoting Aguilar, 515 U.S. at 616–17
             7
                   Robertson has not renewed on appeal his argument before the
             district court that “corruptly” is unconstitutionally vague because it
             has no definite meaning. He apparently recognizes the uphill battle
             a vagueness challenge would face in light of his use of wrongful —
             indeed, felonious — means with the intent to obstruct an official
             proceeding.
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                                           26
             (Scalia, J., concurring in part and dissenting in part)).
             According to Robertson, a defendant must act in that particular
             way and with that particular purpose in order to behave
             “corruptly,” and such a limited definition is necessary to
             appropriately constrain § 1512(c)(2)’s otherwise overly
             expansive scope. Robertson’s attempt to limit “corruptly” to
             his preferred, single meaning is wholly unconvincing: It finds
             no support in the statute and is contrary to precedent.

                  The asserted exclusivity of Robertson’s definition of
             “corruptly” is at odds with the view of that term taken by the
             Supreme Court, this court, and Congress. See supra Section
             II.A.2.    Moreover, the two requirements espoused by
             Robertson are not mandated by the ordinary meaning of
             “corruptly” or any other relevant text in the statute. The word
             “dishonestly” is not included in 18 U.S.C. § 1512(c)(2), or in
             the dictionary definition of “corruptly.” See Arthur Andersen,
             544 U.S. at 705–06; Corruptly, Black’s Law Dictionary (7th
             ed. 1999). Likewise, the “hope or expectation of a benefit” is
             absent from the statute’s text and not required by its plain
             meaning. See 18 U.S.C. § 1512(c). Robertson’s proposed
             definition cannot be the exclusive way to construe “corruptly,”
             as he insists, when his definition does not even reflect the
             ordinary meaning of the word. Indeed, Robertson’s reading of
             “corruptly” conflicts with our decision in North. We held that
             even if North could show that he lacked a corrupt motive
             (because he was just following orders), a jury could find that
             he acted “corruptly” because he chose illegal means over
             available lawful ones to carry out the instructions of his
             superiors. See 901 F.2d at 883–84. In other words, where
             criminal means are employed, no proof of corrupt purpose is
             necessary. That holding precludes Robertson’s position that a
             particular purpose –– seeking a benefit for oneself or another
             — is invariably required to prove “corruptly.”
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                                             27
                  The broader statutory context also undermines
             Robertson’s position. As we have discussed, “corruptly”
             encompasses multiple ways of acting with corrupt purpose or
             corrupt means. See supra Section II.A.2. Robertson seems to
             acknowledge as much in his supplemental brief, and he
             requested a jury instruction stating that “[t]o act ‘corruptly,’ the
             defendant must use unlawful means or have a wrongful or an
             unlawful purpose, or both.” S.A. 35 (emphases added). Yet
             his current definition of “corruptly” focuses only on a
             particular type of corrupt means and purpose — acting
             dishonestly with the hope or expectation of gaining a benefit
             for oneself or another — while reading the statute to preclude
             other common ways of behaving “corruptly.”

                  Nor do precedents support Robertson’s limited and
             exclusive interpretation of “corruptly.” With respect to the
             asserted requirement of dishonesty, he relies on Arthur
             Andersen. In that case, the Supreme Court faulted the trial
             judge for removing from the proposed jury instructions the
             requirement that the defendant acted “dishonestly” –– but only
             because that deletion relieved the government of its obligation
             to prove any culpable state of mind and thereby “diluted the
             meaning of ‘corruptly’ so that it covered innocent conduct.”
             Arthur Andersen, 544 U.S. at 706–07. We do not read Arthur
             Andersen to require proof of “dishonesty” in every case in
             which “corruptly” is an element.

                  As for the asserted requirement that the defendant have a
             “hope or expectation” of a “benefit,” Robertson and our
             dissenting colleague cite two sources: (1) Judge Walker’s
             concurring opinion in United States v. Fischer, which asserted
             that “corruptly” means acting “with an intent to procure an
             unlawful benefit either for [one]self or for some other person,”
             Fischer, 64 F.4th at 352, 357 (Walker, J., concurring in part
             and concurring in the judgment) (quoting Marinello v. United
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                                            28
             States, 138 S. Ct. 1101, 1114 (2018) (Thomas, J., dissenting));
             see also Dissenting Op. 11; and (2) Justice Scalia’s partial
             dissent in Aguilar, which approved of a jury instruction
             defining “corruptly” under 18 U.S.C. § 1503 as an act done
             “with a hope or expectation of either financial gain or other
             benefit to oneself or a benefit of another person.” Aguilar, 515
             U.S. at 616–17 (Scalia, J., concurring in part and dissenting in
             part); see Def.’s Suppl. Br. 9.

                  Both Judge Walker and Justice Scalia characterized the
             expectation-of-benefit formulation of “corruptly” as
             “longstanding,” and Judge Walker reasoned in Fischer that
             Congress must have intended “corruptly” as used in § 1512(c)
             to incorporate that meaning because it is well-established.
             Fischer, 64 F.4th at 352–53, 356–57 (Walker, J., concurring in
             part and concurring in the judgment). But Judge Walker relied
             primarily on a dissent in Marinello to support his claim of
             “longstanding” authority, id. at 352; and Justice Scalia also was
             in the minority in Aguilar — his opinion was joined by only
             two other justices, Aguilar, 515 U.S. at 609 (Scalia, J.,
             concurring in part and dissenting in part). No majority of the
             Supreme Court has adopted the “expectation-of-benefit”
             requirement when defining “corruptly” in an obstruction case.

                  In actuality, the expectation-of-benefit requirement is not
             “longstanding” at all in the context of obstruction statutes:
             Instead, its use has been almost exclusively confined to bribery
             and tax law. See Fischer, 64 F.4th at 381 (Katsas, J.,
             dissenting) (“The concurrence’s approach thus requires
             transplanting into section 1512(c)(2) an interpretation of
             corruptly that appears to have been used so far only in tax law.”
             (emphasis in original)); see also United States v. Lonich, 23
             F.4th 881, 902–03 (9th Cir. 2022) (noting similar interpretation
             in bribery statutes); United States v. Floyd, 740 F.3d 22, 31 (1st
             Cir. 2014) (“[T]here is a consensus among the courts of appeals
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                                             29
             that ‘corruptly,’ as used in section 7212(a) [prohibiting
             obstruction of the administration of the tax code], means acting
             with an intent to procure an unlawful benefit either for the actor
             or for some other person.”). Thus, the purportedly
             “longstanding” definition of “corruptly” would come as a
             surprise to every sister circuit to previously consider the
             meaning of that term in § 1512(c)(2). See United States v.
             Bedoy, 827 F.3d 495, 510 (5th Cir. 2016); United States v.
             Delgado, 984 F.3d 435, 452 (5th Cir. 2021); Lonich, 23 F.4th
             at 906; United States v. Ahrensfield, 698 F.3d 1310, 1324–25
             (10th Cir. 2012); United States v. Gordon, 710 F.3d 1124,
             1148–49 (10th Cir. 2013); United States v. Mintmire, 507 F.3d
             1273, 1289 (11th Cir. 2007); United States v. Friske, 640 F.3d
             1288, 1291 (11th Cir. 2011); see also Matthews, 505 F.3d at
             705 (interpreting “corruptly” in § 1512(c)(1)). Even the Tenth
             Circuit, which recognized the benefit-focused definition in a
             case involving a different obstruction statute, Ogle, 613 F.2d at
             238, has approved definitions of “corruptly” without the
             benefit requirement in later cases See United States v.
             Erickson, 561 F.3d 1150, 1159 (10th Cir. 2009) (interpreting
             § 1503); see also Ahrensfield, 698 F.3d at 1325 (interpreting
             § 1512(c)(2)); Gordon, 710 F.3d at 1148 (interpreting
             § 1512(c)(2)). We see no basis to create a split with those
             circuits, particularly on sufficiency review when the culpability
             of Robertson’s conduct is obvious.8


             8
                  The dissent erroneously asserts that our interpretation is in
             “outright conflict” with some of the cited authorities from other
             jurisdictions. Dissenting Op. 19 n.10. The dissent notes that none
             of those authorities adopts an “independently unlawful means”
             requirement. Id. Nor do we impose such a requirement. Instead, we
             recognize that proof of independently unlawful means can suffice to
             establish “corrupt” intent or action. By the same token, in cases
             charging that conduct was corrupt because it was dishonest, proof of
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                                              30
                  The Fischer concurrence argued that its narrow view of
             “corruptly” must be exclusive to “ensure[] that [§ 1512(c)(2)]
             does not have a breathtaking scope.” Fischer, 64 F.4th at 352,
             360–61, 362 n.10 (Walker, J., concurring in part and
             concurring in the judgment); see also Opening Br. 15–16;
             Reply Br. 8–9. But, as discussed, the “corruptly” element
             works to separate culpable conduct from innocent behavior,
             even without the additional requirement advocated by the
             Fischer concurrence. See supra Section II.A.2. The element
             of “corrupt” intent or action, as we construe it, protects the right
             of peaceful advocacy and protest –– i.e., the legitimate efforts
             of lobbyists and protestors to influence policymaking or to
             express political views do not fit the ordinary meaning of
             “corruptly.” See North, 910 F.2d at 882. That is so even in the
             case of protestors who passionately, but lawfully, voice
             displeasure, suspicion, or outrage over election results. In any
             event, the potential breadth of a statute is not alone a reason to
             depart from its ordinary meaning. Even Justice Scalia’s partial
             dissent in Aguilar, on which Robertson and the Fischer
             concurrence both rely, opposed “importing extratextual
             requirements in order to limit the reach of a federal criminal
             statute.” Aguilar, 515 U.S at 612 (Scalia, J., concurring in part
             and dissenting in part) (emphasis in original).

                  We note, too, that concerns about constraining lobbying
             and advocacy are not implicated in January 6 cases because the
             electoral-vote certification by Congress is not a policymaking
             exercise open to “political jousting,” see North, 910 F.2d at
             882. Instead, it is a constitutionally scripted transition of
             presidential power, with an outcome determined by the results
             of a presidential election. Fischer, 64 F.4th at 342-43; 3 U.S.C.


             dishonesty can also suffice. The cited authorities are consistent with
             our view that there are many ways to prove “corruptly.” See supra
             Section II.A.2.
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             § 15 (2018), amended by 136 Stat. 4459, 5238 (2022). The
             purpose of the proceeding is to present and count the
             “certificates of the electoral votes” duly submitted by each
             state. 3 U.S.C. § 15 (2018), amended by 136 Stat. 4459, 5238
             (2022). After the votes are “ascertained and counted,” the Vice
             President, as President of the Senate, “announce[s] the state of
             the vote, which announcement shall be deemed a sufficient
             declaration of the persons, if any, elected President and Vice
             President of the United States.” Id. Although members of
             Congress may object to a state’s certificates, see id., Robertson
             does not argue that his conduct on January 6, 2021, was a
             peaceful effort to convince members of Congress to raise
             objections to the vote certification.

                  The interpretations of “corruptly” posited by Robertson
             and the Fischer concurrence appear to confuse sufficiency with
             necessity: Their proposed definitions of “corruptly” may be
             sufficient to prove corrupt intent, but neither dishonesty nor
             seeking a benefit for oneself or another is necessary to
             demonstrate “wrongful, immoral, depraved, or evil” behavior
             within the meaning of § 1512(c). See supra Section II.A.2
             (explaining that corrupt intent may be proved in many ways).
             Acting “dishonestly” would be consistent with the ordinary
             meaning of acting “corruptly.”          See United States v.
             Richardson, 676 F.3d 491, 507–08 (5th Cir. 2012). Likewise,
             a defendant’s obstructive conduct may often seek to secure an
             unlawful benefit for himself or another, such as preventing
             negative testimony at a trial. See United States v. Edlind, 887
             F.3d 166, 172–76 (4th Cir. 2018). But Robertson has not
             persuaded us that all the courts that have heretofore defined
             “corruptly” without the “benefit” element — i.e., in virtually
             all previous cases not involving bribery or tax offenses — were
             wrong.
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                                            32
                  For all the foregoing reasons, we decline to adopt the
             limited constructions of “corruptly” proffered by Robertson
             and the Fischer concurrence, which each insist that the broad
             concept of “corrupt” intent must be proved in only one way.
             To the extent that Robertson seeks reversal of his conviction
             under § 1512(c)(2), we also note that the Fischer concurrence
             does not appear to help him. Although the Fischer concurrence
             favored a definition of “corruptly” that required proof of the
             defendant’s intent to procure a benefit for himself or another,
             it applied that standard to support the prosecution of January 6
             defendants who, like Robertson, “used illegal means (like
             assaulting police officers) with the intent to procure a benefit
             (the presidency) for another person (Donald Trump).” Fischer,
             64 F.4th at 361 (Walker, J., concurring in part and concurring
             in the judgment).

                                            6.

                 We respectfully disagree with our dissenting colleague,
             who asserts that the record evidence was insufficient to support
             Robertson’s conviction under § 1512(c)(2) and that Judge
             Walker’s concurrence in United States v. Fischer is binding on
             us. See 64 F.4 351 (Walker, J., concurring in part and
             concurring in the judgment).

                                            i.

                  The dissent contends that the concurring opinion in
             Fischer is binding precedent that we must follow. See
             Dissenting Op. 1, 12–14. That contention is based on the
             erroneous belief that “[t]he definition of ‘corruptly’ endorsed
             by Judge Walker . . . was necessary to create a holding.” Id. at
             13. The only holding in Fischer was the majority’s ruling
             reversing the district court’s erroneous interpretation of a
             different part of the statute — the “otherwise obstructs” clause.
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                                           33
                  In Fischer, we reversed the district court’s decision to
             dismiss the § 1512(c)(2) charges in the defendants’ indictments
             and remanded the cases for further proceedings. 64 F.4th at
             350. The district court’s dismissal order was narrow: It rested
             solely on the conclusion that § 1512(c)(2) “requires that the
             defendant have taken some action with respect to a document,
             record, or other object.” United States v. Miller, 589 F. Supp.
             3d 60, 78 (D.D.C. 2022). We disagreed, holding that
             “otherwise . . . obstruct[ing], influenc[ing] or imped[ing]” an
             official proceeding under § 1512(c)(2) covers “all forms of
             corrupt obstruction of an official proceeding.” Fischer, 64
             F.4th at 336. We also determined that the certification of the
             Electoral College vote by Congress is an “official proceeding”
             under the statute. Id. at 342–43. We did not resolve the
             question at issue in this case: How to define and apply
             “corruptly” within the meaning of the statute.

                  The district court in Fischer had expressly declined to
             address the meaning of “corruptly” in § 1512(c)(2). United
             States v. Miller, 605 F. Supp. 3d 63, 70 n.3 (D.D.C. 2022).
             Thus, the briefing in the Fischer appeal considered the role of
             “corruptly” only as context for interpreting the words
             “otherwise . . . obstructs, influences, or impedes,” which was
             the issue before us. In arguing for a broader interpretation of
             “otherwise obstructs,” the government asserted that the
             statute’s reach was constrained by the “corruptly” element,
             which requires proof that the defendant “intended to obstruct”
             an official proceeding, took actions “the natural and probable
             effect of which” was to obstruct, and did so “with a corrupt
             purpose or through independently corrupt means, or
             both.” U.S. Br. 50–51, Fischer, 64 F.4th 329 (22-3038)
             (cleaned up). The defendants responded that the term
             “corruptly” is unconstitutionally vague, Appellee Br. 32–36,
             Fischer, 64 F.4th 329 (22-3038), so would not cure “the
             uncertainty surrounding which acts are criminal,” id. at
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                                            34
             36. Thus, the parties only tangentially addressed the meaning
             of “corruptly” in their briefs.

                  Our holding in Fischer was that the district court
             erroneously dismissed the defendants’ § 1512(c)(2) counts
             based on its interpretation of “otherwise obstructs”; we did not
             decide whether the § 1512(c)(2) charge was otherwise properly
             pled, including as to the “corruptly” element. A holding of
             error as to a district court’s sole ground for dismissing an
             indictment does not affirmatively establish the indictment’s
             validity in all other respects. Cf. Dissenting Op. 13 n.8.
             Rather, our conclusion that the district court erred in its
             interpretation of “otherwise obstructs” left room for the
             defendants to raise other challenges to the statute on remand —
             including any claims regarding “corruptly.” Nothing in the
             Fischer opinion prevented the district court from entertaining
             such a claim on remand.

                  Robertson and the government agree that the three
             separate opinions in Fischer produced no holding on the
             meaning of “corruptly.” Def.’s Suppl. Br. 1; Gov’t’s Suppl.
             Br. 1. The lead Fischer opinion saw no need to settle on a
             statutory interpretation of that term, 64 F.4th at 339–42, nor did
             Judge Katsas in dissent, id. at 382. Only Judge Walker,
             concurring in part and concurring in the judgment, presented
             his view of how “corruptly” in § 1512(c)(2) should be defined.
             His discussion on that point was dicta.

                  Judge Walker agreed with Judge Pan that the district court
             erred in dismissing the indictments for failure to sufficiently
             allege that the defendants “otherwise . . . obstruct[ed],
             influence[d] or impede[d]” an official proceeding. He noted
             that, “[i]f proven at trial, the Defendants’ efforts to stop
             Congress from certifying the results of the 2020 presidential
             election are the kind of ‘obstructive conduct’ proscribed by
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                                            35
             (c)(2).” 64 F.4th at 351 (Walker, J., concurring in the lead
             opinion’s interpretation of “otherwise obstructs” in
             § 1512(c)(2) and concurring in the judgment) (cleaned up). He
             went on to explain his view that the statutory requirement that
             obstruction be undertaken “corruptly” requires proof that the
             defendant acted “with an intent to procure an unlawful benefit
             either for himself or for some other person.” Id. at 352
             (quoting Marinello, 138 S. Ct. at 1114 (Thomas, J.,
             dissenting)).

                  Judge Walker suggested that his interpretation of
             “corruptly” might be binding on the court, emphasizing its
             importance to him in his decision to embrace the broader
             reading of “otherwise obstructs.” Fischer, 64 F.4th at 362 n.10
             (Walker, J., concurring in part and concurring in the
             judgment). Although Judge Walker was free to forecast in his
             concurrence how he would interpret “corruptly” in an appeal
             requiring that it be resolved, the role his interpretation played
             in his own thinking did not make it precedent that is binding on
             this court. See Doe v. Fed. Democratic Republic of Ethiopia,
             851 F.3d 7, 10 (D.C. Cir. 2017) (“[B]inding circuit law comes
             only from the holdings of a prior panel, not from its dicta.”
             (cleaned up)).

                  In any event, even if we assume, arguendo, that Fischer
             included a holding about “corruptly,” any such holding was
             limited to a conclusion that the “corruptly” element was
             adequately alleged. Two members of the panel agreed on that
             outcome but relied on different reasoning — a way to resolve
             an appeal that is not unusual. See, e.g., W. Org. of Res.
             Councils v. Zinke, 892 F.3d 1234, 1246 (D.C. Cir. 2018)
             (Henderson, J., concurring) (“I do not join the portion of the
             opinion that identifies alternative avenues by which the
             plaintiffs might press their claim. . . . I would leave it up to a
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                                             36
             future court to decide whether the alternatives discussed are
             sufficient to pursue the claim we reject in this appeal.”).

                  The lead opinion in Fischer determined that the facts
             alleged in the indictments were sufficient to support any
             definition of “corruptly,” but did not adopt a definition, i.e., the
             opinion did not state what was necessary to prove corrupt
             intent. See 64 F.4th at 339–41 (opinion of Pan, J.); id. at 340
             (“[T]he sufficiency of the indictments in this case does not turn
             on the precise definition of ‘corruptly.’”). By contrast, Judge
             Walker opined in his concurrence that it was necessary to
             prove that a defendant intended to procure an unlawful benefit
             to establish corrupt intent, and that the allegations in the
             indictments satisfied that requirement. Id. at 361–62 & 362
             n.10 (Walker, J., concurring in part and concurring in the
             judgment). Thus, in reversing the judgment of the trial court
             dismissing the indictments, both Judge Pan and Judge Walker
             agreed that the “corruptly” element — as well as the “otherwise
             obstructs” element — was adequately alleged. Contrary to the
             dissent’s analysis, it was not necessary for Judge Pan and Judge
             Walker to adopt the same reasoning about the definition of
             “corruptly” to conclude that the element was met. Although
             the dissent emphasizes that “Judge Walker conditioned his vote
             on one definition — the one he called the ‘long-standing
             meaning’ of ‘corruptly,’” Dissenting Op. 12, Judge Walker’s
             statement did not, and could not, change Judge Pan’s view of
             the “corruptly” requirement, which was plainly different from
             his.

                  Our dissenting colleague asserts that Judge Walker’s
             reasoning was the narrowest holding of Fischer and therefore
             is binding. Dissenting Op. 14 n.9. That characterization is
             inapt because, as we have explained, there was no “holding”
             about “corruptly” in Fischer. Moreover, the dissent’s logic is
             drawn from the Supreme Court’s Marks rule, which this court
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                                              37
             has never adopted for the purpose of determining its own
             holdings. See Fischer, 64 F.4th at 341 n.5 (opinion of Pan, J.)
             (discussing Marks v. United States, 430 U.S. 188 (1977)).

                  In any event, even under Marks, the narrowest holding
             must be the lowest common denominator, or a “subset,” of any
             broader opinion’s reasoning: In that circumstance, the
             narrower “subset” commands the majority needed to bind the
             court and therefore can be characterized as a “holding.” Cf.
             King v. Palmer, 950 F.2d 771, 781 (D.C. Cir. 1991) (en banc)
             (Silberman, J., concurring) (“Marks is workable — one
             opinion can be meaningfully regarded as ‘narrower’ than
             another — only when one opinion is a logical subset of other,
             broader opinions.”). In Fischer, where the lead opinion
             reasoned that proof of options A, B, or C would be sufficient
             to establish “corrupt” intent, Fischer, 64 F.4th at 339–41
             (opinion of Pan, J.), and the concurrence stated that option C is
             necessary to prove “corruptly,” id. at 352, 361–362 (Walker,
             J., concurring in part and concurring in the judgment), the
             concurrence is not a subset of the lead opinion — the two
             opinions rely on rationales that do not overlap.9 Judge Pan’s
             acceptance of C as sufficient but not necessary — i.e., that C
             need not be proved in every case — conflicts with Judge
             Walker’s insistence that C is invariably required. Thus, neither



             9
                   By contrast, if the lead opinion had said that options A, B, and
             C are necessary to prove “corruptly,” and the concurrence had said
             only that C is necessary, then the concurrence would be a logical
             subset of the lead opinion. Under such circumstances, a defendant’s
             claim that a jury instruction was inadequate for failing to require
             proof of C would support reversal because two judges agreed that C
             was necessary. By contrast, if a defendant objected to instructions
             failing to require A, there would be no binding law because only the
             lead opinion reached such a conclusion.
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                                             38
             opinion is narrower than the other.10 The Fischer concurrence
             is not a “holding” but instead reflects the opinion of a single
             judge.

                                             ii.

                  The dissent claims that we are bound by Judge Walker’s
             view that “corruptly” in § 1512(c)(2) requires the defendant to
             act with the intent of obtaining an unlawful benefit for himself
             or another. See Dissenting Op. 8–15. But in applying that
             standard, Judge Walker reasoned that the indictments at issue
             in Fischer should be upheld, stating that “it might be enough
             for the Government to prove that a defendant used illegal
             means (like assaulting police officers) with the intent to
             procure a benefit (the presidency) for another person (Donald
             Trump).” Fischer, 64 F.4th at 361 (Walker, J., concurring in
             part and concurring in the judgment). The dissent does not
             explain why that reasoning, in an opinion that the dissent
             believes is binding, does not dictate affirmance in this case.

                  Instead, the dissent contends that we must overturn the
             jury’s verdict in this case because “[t]here is no evidence in the
             record suggesting Robertson obstructed the election
             certification proceeding in order to obtain an unlawful benefit
             for himself or someone else.” Dissenting Op. 33. That is
             incorrect. Robertson believed that the election was “rigged”;
             announced that he refused to be “disenfranchised”; and
             declared that he was “prepared to start” an “open armed

             10
                  The dissent posits that “[a]nother way of phrasing Judge
             Walker’s conclusion that C is necessary is to say that only C is
             sufficient,” and that phrasing “yields a logical subset.” Dissenting
             Op. 14 n.9. The dissent’s formulation makes little sense because
             “necessary” and “sufficient” mean different things. There is no way
             to make Judge Walker’s opinion a subset of Judge Pan’s opinion
             because Judge Pan did not agree with him that C is necessary.
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                                            39
             rebellion.” S.A. 110, 190. That evidence was plainly sufficient
             to support a finding that Robertson intended to secure the
             unlawful benefit of installing the loser of the presidential
             election, Donald J. Trump, as its winner. See Fischer, 64 F.4th
             at 361 (Walker, J., concurring in part and concurring in the
             judgment); see also id. at 356 n.5 (reasoning that “the
             beneficiary of an unlawful benefit need not be the defendant or
             his friends” and § 1512(c)(2) could apply to a defendant
             “trying to secure the presidency for Donald Trump”).

                  To shore up its assessment of the evidence, the dissent
             states in a footnote that “[t]he ‘unlawful benefit’ the defendant
             seeks must be financial, professional or exculpatory.”
             Dissenting Op. 34 n.18. But Judge Walker’s concurring
             decision in Fischer, which the dissent believes is binding, see
             id. at 1, did not endorse such a limited definition. See Fischer,
             64 F.4th at 356 n.5 (Walker, J., concurring in part and
             concurring in the judgment). And Judge Walker himself
             emphasized that, even were the requisite “benefit” so limited,
             the defendants’ conduct “may have been an attempt to help
             Donald Trump unlawfully secure a professional advantage —
             the presidency,” so would likely suffice. Id. The dissent’s
             position, in any event, ignores the fact that it can be “corrupt”
             to obstruct an official proceeding for the purpose of gaining a
             personal, social, or political favor. See United States v.
             Brenson, 104 F.3d 1267, 1273–81 (11th Cir. 1997) (affirming
             defendant’s conviction under 18 U.S.C. § 1503 where he
             disclosed details of a grand jury investigation to its target in
             order to get a date with the target’s daughter).

                                            iii.

                 In explaining their adoption of the expectation-of-benefit
             formulation of “corruptly,” the dissent and the Fischer
             concurrence rely on bribery and tax law as asserted foundations
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                                            40
             of the expectation-of-benefit requirement. See 64 F.4th at 352–
             56 (Walker, J., concurring in part and concurring in the
             judgment); Dissenting Op. 15–19. But both of those types of
             cases are poor comparators. For a bribe to be a bribe and not
             merely a payment, there must be some sort of quid pro quo,
             i.e., an agreement by a public official to perform an official act
             to benefit the payee. See McDonnell v. United States, 579 U.S.
             550, 562–63 (2016); United States v. Gatling, 96 F.3d 1511,
             1522 (D.C. Cir. 1996); Lonich, 23 F.4th at 902–07. Likewise,
             it is difficult to “imagine a scenario where a taxpayer would
             ‘willfully’ violate the Tax Code (the mens rea requirement of
             various tax crimes, including misdemeanors) without intending
             someone to obtain an unlawful advantage.” Marinello, 138 S.
             Ct. at 1108. Thus, in bribery and tax cases, the expectation of
             a benefit is inherent in the crime in a way that it is not in the
             obstruction context. Unlike in tax and bribery cases, there are
             many corrupt ways or reasons for a defendant to obstruct an
             official proceeding that do not involve seeking to obtain an
             unlawful advantage for himself or another. Moreover, for a
             person who attempts to influence a congressional proceeding,
             the intent to procure a benefit — e.g., a change of policy —
             may be entirely lawful. Thus, requiring proof of a benefit
             would not protect the innocent lobbying or advocacy that
             concerns the dissent. We therefore see no apparent reason to
             import the expectation-of-benefit requirement into the
             obstruction context, and we discern no justification for making
             such a requirement the exclusive way to prove corrupt intent.

                  We also reject the assertion by the dissent and the Fischer
             concurrence that the common-law history of bribery
             determines the meaning of “corruptly” in this obstruction
             statute. Our court has previously traced the historical
             provenance of a related obstruction statute, 18 U.S.C. § 1505,
             to an 1831 contempt statute that punished attempts to
             “corruptly, or by threats or force, endeavour to influence,
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             intimidate, or impede any juror, witness, or officer” or to
             “corruptly, or by threats or force, obstruct, or impede, or
             endeavour to obstruct or impede, the due administration of
             justice.” Act of Mar. 2, 1831, ch. 98, § 2, 4 Stat. 487, 488; see
             Poindexter, 951 F.2d at 380 (citing Walter Nelles & Carol
             Weiss King, Contempt by Publication in the United States, 28
             COLUM. L. REV. 401, 430–31 (1928)); see also Felix
             Frankfurter, Power of Congress over Procedure in Criminal
             Contempts in ‘Inferior’ Federal Courts — A Study in
             Separation of Powers, 37 HARV. L. REV. 1010, 1026–27 n.75
             (1924) (recounting legislative history of Act of Mar. 2, 1831).

                  That predecessor contempt statute does not include any
             mention of a required intent to procure a benefit. Moreover,
             courts interpreting a later version of that provision, which
             incorporated similar statutory language, have held that the
             word “corruptly” is “capable of different meanings in different
             connections,” and that requiring that obstruction be
             accompanied by a promise of payment would “quite
             unreasonably restrict the obvious purpose of the legislation.”
             See Bosselman v. United States, 239 F. 82, 86 (2d Cir. 1917)
             (“As used in this particular [contempt] statute, we think any
             endeavor to impede and obstruct the due administration of
             justice in the inquiries specified is corrupt.”); see also United
             States v. Polakoff, 121 F.2d 333, 334 (2d Cir. 1941) (“Exact
             precedents appear to be lacking, but the decisions under the
             [contempt] statute are illuminating in their unwillingness to
             limit the court’s protection from improper obstructions.”); id.
             at 335 (discussing Bosselman). Neither the dissent nor the
             Fischer concurrence address contempt statutes in the history
             that they recount.

                  The dissent raises three additional objections to our
             holding that a defendant obstructs “corruptly” when he does so
             by independently felonious means. First, the dissent reiterates
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             concerns expressed by the Fischer dissent that relying on
             independently unlawful means to prove “corruptly” could
             inappropriately “supercharge a range of minor advocacy,
             lobbying, and protest offenses into 20-year felonies.”
             Dissenting Op. 30, 32 (quoting Fischer, 64 F.4th at 380
             (Katsas, J., dissenting)). But that is not so: Obstruction of
             Congress by corrupt means is a distinct harm from that
             associated with the unlawful means used to carry out the
             obstruction. In any event, prosecutions seeking to demonstrate
             that a defendant “corruptly” obstructed a proceeding by relying
             on proof that the defendant’s means were misdemeanors or
             otherwise unlawful are not before us and should be addressed
             when they arise. See supra Section II.A.4.

                  Second, the dissent complains that our opinion responds to
             such concerns by “imposing a limitation plucked from thin
             air,” i.e., that we “suggest[] that the ‘unlawful-means’
             requirement is satisfied only when a defendant acts through
             ‘independently felonious means.’”         Dissenting Op. 30
             (emphasis in original). The dissent is again mistaken. In
             holding that felonious means are sufficient to establish
             “corrupt” behavior, we do not suggest that they are always
             necessary to prove the “corruptly” element.

                 Third, and finally, the dissent contends that our reading of
             “corruptly” “strip[s] the word of any independent meaning.”
             Dissenting Op. 24. That, too, is wrong. The requirement that
             a defendant act via corrupt means or corrupt purpose plays the
             crucial role of ensuring that § 1512(c)(2) does not penalize
             innocent efforts to obstruct an official proceeding, including by
             engaging in constitutionally protected expression. See supra
             Section II.A.2.

                 For all the foregoing reasons, we respectfully disagree
             with our dissenting colleague.
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                                              43
                                              B.

                  Robertson challenges his sentence, arguing that the district
             court erroneously applied an 11-point increase to his offense
             level based on the specific offense characteristics in U.S.S.G.
             § 2J1.2(b)(1)(B) and (b)(2). Section 2J1.2 sets forth the base
             offense level and enhancements for obstruction-of-justice
             crimes. Subsection (b)(1)(B) instructs that an eight-level
             increase applies “[i]f the offense involved causing or
             threatening to cause physical injury to a person, or property
             damage, in order to obstruct the administration of justice,” id.
             § 2J1.2(b)(1)(B); and subsection (b)(2) provides that a three-
             level increase is appropriate “[i]f the offense resulted in
             substantial interference with the administration of justice,” id.
             § 2J1.2(b)(2).

                  In Robertson’s view, his conduct does not fall within either
             subsection (b)(1)(B) or (b)(2) because Congress’s certification
             of the Electoral College vote does not implicate the
             “administration of justice.” Instead, he asserts, “administration
             of justice” refers only to judicial or quasi-judicial proceedings
             and related investigations, relying primarily on a district court
             decision issued after his sentencing. See Opening Br. 24–28
             (citing United States v. Seefried, 639 F. Supp. 3d 8, 11-19
             (D.D.C. 2022)).

                 Although Robertson objected to the application of
             subsections (b)(1)(B) and (b)(2) in the district court, he never
             argued that Congress’s certification of the election was not an
             “administration of justice.”11 We therefore review Robertson’s

             11
                   Specifically, Robertson’s sentencing memorandum argued only
             that the offense characteristics did not apply because “at no time did
             [he] cause or threaten physical injury to a person or property,” and
             because he “did nothing that increased the resources” expended by
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                                               44
             claims for plain error. See United States v. Hunter, 809 F.3d
             677, 681 (D.C. Cir. 2016); United States v. Gewin, 759 F.3d
             72, 78–79 (D.C. Cir. 2014). Under that standard, Robertson
             bears the burden of showing “(1) that there was an error, (2)
             that the error was clear or obvious, (3) that it affected [his]
             substantial rights, and (4) that it seriously affected the fairness,
             integrity, or public reputation of the judicial proceedings.”
             United States v. Gooch, 665 F.3d 1318, 1332 (D.C. Cir. 2012);
             accord Greer v. United States, 141 S. Ct. 2090, 2096–97
             (2021); United States v. Olano, 507 U.S. 725, 732–35 (1993).

                  Robertson’s argument fails to clear the second hurdle: We
             need not even decide whether the district court erred to
             conclude that it is far from clear or obvious that it did so. First,
             the ordinary meaning of “administration of justice” does not
             necessarily exclude Congress’s certification of the Electoral
             College vote under 3 U.S.C. § 15. The term “justice” is defined
             as the “fair and proper administration of laws,” which may
             pertain to the administration of laws by a legislative body.
             Justice, Black’s Law Dictionary (7th ed. 1999); see also
             Contempt, Black’s Law Dictionary (7th ed. 1999) (explaining
             that contempt of a “legislature” impairs the “administration of
             justice”). Moreover, Robertson cites no binding authority
             limiting the administration of justice to judicial or quasi-
             judicial proceedings. Thus, we cannot conclude that the district
             court clearly or obviously erred when it found that Robertson’s
             obstruction of the Electoral College vote also obstructed and
             interfered with the “administration of justice.” In short,
             Robertson fails to meet his burden to demonstrate that the

             the government. S.A. 54–55. Likewise, at the sentencing hearing,
             his counsel repeated that “the enhancement does not apply when the
             government fails to identify any expenses in addition to the costs of
             bringing the defendant to trial” and that “if we take the definition of
             what ‘substantial interference’ means, that doesn’t apply here at all.”
             Id. at 212, 214.
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                                            45
             district court plainly erred when it determined that the specific
             offense characteristics in U.S.S.G. § 2J1.2 (b)(1)(B) and (b)(2)
             apply to his conduct. See Greer, 141 S. Ct. at 2097.

                                       *    *     *

                  For the reasons discussed, we affirm the judgment of the
             district court. The evidence at trial was sufficient to support a
             finding that Robertson acted “corruptly” under 18 U.S.C.
             § 1512(c)(2) by engaging in independently felonious conduct
             to obstruct the certification of the Electoral College vote.
             Moreover, the district court did not plainly err when it
             increased Robertson’s sentencing range under the Sentencing
             Guidelines based on findings that he obstructed or interfered
             with the administration of justice.

                                                                 So ordered.
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                 KAREN LECRAFT HENDERSON, Circuit Judge, dissenting:

                      The best laws should be constructed as to leave
                      as little as possible to the decision of the judge.
                                                              Aristotle*

                   It is not every day that a criminal appeal gives the court a
             “multiple choice” of grounds on which to vacate a conviction.
             I believe that Thomas Robertson’s appeal has done so. For me,
             the simplest ground for vacatur can be described as “done and
             dusted” because our court already decided the issue sub judice
             in United States v. Fischer, 64 F.4th 329 (D.C. Cir. 2023). My
             colleagues stray from that precedent and I cannot join them.
             Even if Fischer did not bind us, the majority’s formulation of
             the requisite mens rea—“corruptly” defined as having an
             “unlawful” purpose or acting through “unlawful” means—
             makes the commission of any crime “corrupt” because any
             crime requires the use of unlawful means or an unlawful
             purpose or both. Perhaps in attempting to define “corruptly,”
             we are “faced with the task of trying to define what may be
             indefinable,” as Supreme Court Justice Potter Stewart once
             observed regarding a different criminal statute. Jacobellis v.
             Ohio, 378 U.S. 184, 197 (1964) (Stewart, J., concurring). But
             as Mr. Justice Stewart also noted (regarding pornography), see
             id., I know what “corruptly” does not mean. It does not mean
             what the majority says it does. Accordingly, I respectfully
             dissent.

                 I.    BACKGROUND

                  Every four years, state-appointed “Electors,” equal to the
             total number of Senators and Representatives for each state,
             “vote by Ballot” for the President and the Vice President of the

                 *
                   Rhetoric, bk. I, ch. 1 (as reprinted in The Quotable
             Lawyer 165 (David Shrager & Elizabeth Frost eds., 1986)).
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                                                 2
             United States. U.S. Const. art. II, § 1. After voting in their
             respective states, the electors sign, seal and forward their votes
             to the President of the Senate. The President of the Senate, “in
             the presence of the Senate and House of Representatives,” then
             counts the votes. Id. amend. XII. “The person having the
             greatest number of votes for President, shall be the
             President . . . .” Id. The certification proceeding occurs “on the
             sixth day of January” following the presidential election. 3
             U.S.C. § 15.

                  On January 6, 2021, as the certification of the electoral
             vote progressed, hundreds of people made their way past law
             enforcement and into the United States Capitol building to
             protest the certification.1 Some of them assaulted police
             officers and damaged property, halting the certification
             proceeding for nearly six hours.

                  Thomas Robertson was among the protesters who entered
             the Capitol. He was then a patrol sergeant in the Rocky Mount
             (Virginia) Police Department. According to the record, he
             believed that the 2020 presidential election had been “rigged.”
             Suppl. App. 110. Robertson and two other men—a neighbor
             and a fellow police officer, Jacob Fracker—drove together to
             Washington, D.C., on January 6, 2021. They carried with them
             water, food, three gas masks and a large wooden stick. Both
             Robertson and Fracker brought their department-issued
             handguns but, at Robertson’s suggestion, left them in
             Robertson’s car at a northern Virginia Metro station.

                Upon arriving in D.C., Robertson, Fracker and
             Robertson’s neighbor headed to the Washington Monument,
             where they listened to speeches by then-President Donald
             Trump, among others. The three men then walked with a “big

                 1
                       The following description of the facts is drawn from the trial
             record.
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                                              3
             crowd” toward the Capitol building. Suppl. App. 120. By the
             time they arrived, the crowd was “pretty out of hand.” There
             was “yelling, screaming, [and] people . . . throwing things,”
             including “flash bangs [and] smoke grenades.” Id. at 121.
             Capitol Police were “overwhelm[ed]” by the rioters, id., and
             “severely outnumbered,” id. at 67. Fearing the Capitol Police’s
             use of pepper spray or tear gas, Robertson and the other two
             donned their gas masks.

                  Not long after, Metropolitan Police Department (MPD)
             officers arrived to reinforce the Capitol Police. One group of
             MPD officers, known as unit CDU-42, walked in two single-
             file lines toward the Capitol building, passing through
             protesters who were holding “large sticks” and “[t]hrowing
             cement.” Suppl. App. 93–95. When the MPD officers
             approached his position, Robertson stood in their path, holding
             his wooden stick in the “[p]ort arms” position.2 Id. at 103. One
             MPD officer testified that Robertson used the wooden stick to
             strike another officer before taking a “swipe[]” at the testifying
             officer. Id.

                  Robertson and Fracker then entered the Capitol. While
             inside, they posed for pictures in the Capitol Crypt (the room
             directly beneath the Capitol Rotunda), where they remained for
             about ten minutes. As police observed them from across the
             room, the crowd began chanting and Robertson banged his
             wooden stick to the chant. Eventually, law enforcement
             officers regained control of the area and directed Robertson and
             Fracker to leave, which they did. Following January 6th,
             Robertson made a number of social media posts, including one
             with a photograph of him and Fracker in the Capitol Crypt,
             expressing his pride in having protested.


                 2
                   “Port arms” is a “tactical position” in which a baton or stick
             may be used “both offensively and defensively.” Suppl. App. 85.
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                                             4
                  After the FBI contacted Robertson and Fracker and told
             them to turn themselves in, Robertson asked Fracker for
             Fracker’s cell phone. Fracker understood that Robertson
             intended to “make it disappear.” Suppl. App. 169–70. When
             Robertson was arrested on January 13, 2021, he did not have a
             cell phone on his person. An FBI search of his house the
             following week discovered a cell phone that had been activated
             on January 14, 2021—one day after Robertson’s arrest. In a
             text message exchange the day after he activated the phone,
             Robertson told a correspondent that “[a]nything that may have
             been problematic is destroyed.” Id. at 196.

                  On March 23, 2022, Robertson was charged in a second
             superseding indictment with six counts based on his January
             6th-related conduct. Five of the counts charged: (1) civil
             disorder; (2) entering and remaining in a restricted building
             while carrying a dangerous weapon; (3) disorderly conduct in
             a restricted building while carrying a dangerous weapon;
             (4) disorderly conduct in the Capitol building; and
             (5) destroying cell phones with the intent to render them
             unavailable for a grand jury investigation.

                   The sixth count forms the basis of Robertson’s appeal. It
             charged Robertson with obstructing an official proceeding in
             violation of 18 U.S.C. § 1512(c)(2). Section 1512(c) reads in
             full:

                     Whoever corruptly—

                       (1) alters, destroys, mutilates, or conceals a
                       record, document, or other object, or
                       attempts to do so, with the intent to impair
                       the object’s integrity or availability for use in
                       an official proceeding; or
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                                             5
                        (2) otherwise obstructs, influences, or
                        impedes any official proceeding, or attempts
                        to do so,

                     shall be fined under this title or imprisoned not
                     more than 20 years, or both.

                  Before trial, Robertson moved to dismiss the subsection
             (c)(2) count. Robertson argued inter alia that the mens rea
             adverb      “corruptly”      rendered      subsection      (c)(2)
             unconstitutionally vague, both on its face and as applied to him.
             The district court denied Robertson’s facial vagueness
             challenge, concluding that, notwithstanding that there “may be
             scenarios at the edges that present vagueness problems,” the
             statute sufficiently specified the “‘core’ behavior to which it
             constitutionally applies.” United States v. Robertson, 588 F.
             Supp. 3d 114, 123 (D.D.C. 2022) (quotation omitted). The
             court likewise rejected Robertson’s as-applied challenge,
             concluding that the allegations in the indictment sufficed for a
             jury to conclude Robertson acted “corruptly.” Id. at 123–24.

                 The jury charge defined “corruptly” as used in section
             1512(c)(2) as follows:

                     To act corruptly the defendant must use
                     unlawful means, or act with an unlawful
                     purpose, or both. The defendant must also act
                     with     consciousness    of    wrongdoing.
                     Consciousness of wrongdoing means with an
                     understanding or awareness that what the
                     person is doing is wrong.

                     Not all attempts to obstruct or impede an official
                     proceeding involve acting corruptly. For
                     example, a witness in a court proceeding may
                     refuse to testify by invoking his constitutional
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                                             6
                     privilege against self-incrimination, thereby
                     obstructing or impeding the proceeding. But he
                     does not act corruptly.

                     In contrast, an individual who obstructs or
                     impedes a court proceeding by bribing a witness
                     to refuse to testify in that proceeding or by
                     engaging in other independently unlawful
                     conduct does act corruptly.

             Suppl. App. 203.

                  The jury convicted Robertson on all counts. After trial,
             Robertson moved for a judgment of acquittal under Rule 29 of
             the Federal Rules of Criminal Procedure.3 Robertson argued
             that, in order to prove he acted “corruptly,” the Government
             was required to show that he acted “knowingly and dishonestly
             with the intent to obtain an unlawful advantage for himself or
             an associate, and that he influenced another to violate their
             legal duty.” App. 38. Robertson argued that the Government
             failed to meet that burden, relying instead on his “mere
             presence” inside the Capitol to establish that he acted
             “corruptly.” Id. at 39.

                  The district court denied Robertson’s motion, holding that
             section 1512(c)(2) is “properly narrowed” by the requirement
             that the Government prove Robertson acted with
             “consciousness of wrongdoing,” United States v. Robertson,
             610 F. Supp. 3d 229, 233 (D.D.C. 2022) (quoting Robertson,
             588 F. Supp. 3d at 123), and concluding that the evidence



                 3
                    See Fed. R. Crim. P. 29(a) (“[T]he court on the defendant’s
             motion must enter a judgment of acquittal of any offense for which
             the evidence is insufficient to sustain a conviction.”).
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             “comfortably support[ed] the jury’s verdict on each element,”
             id. at 235.

                 Robertson was sentenced to eighty-seven months’
             imprisonment followed by three years of supervised release.
             He timely appealed.

                 II. ANALYSIS

                 Robertson appeals the denial of his motion for judgment
             of acquittal and seeks vacatur of his section 1512(c)(2)
             conviction because the Government’s evidence was
             insufficient to show that he acted “corruptly.”

                  Reviewing a sufficiency-of-the-evidence challenge, the
             court asks “whether, after viewing the evidence in the light
             most favorable to the prosecution, any rational trier of fact
             could have found the essential elements of the crime beyond a
             reasonable doubt.” Jackson v. Virginia, 443 U.S. 307, 319
             (1979) (emphasis omitted). Our sufficiency review “‘does not
             rest on how the jury was instructed’ but rather on how a
             properly instructed jury would assess the evidence.” United
             States v. Hillie, 14 F.4th 677, 682 (D.C. Cir. 2021) (quoting
             Musacchio v. United States, 577 U.S. 237, 243 (2016)); see
             also United States v. Khatallah, 41 F.4th 608, 634 (D.C. Cir.
             2022) (per curiam) (acquittal motion “tests sufficiency against
             ‘how a properly instructed jury would assess the evidence,’ not
             on ‘how the jury was instructed’” (quoting Hillie, 14 F.4th at
             682)). The reason for this standard is simple: “To allow a
             conviction to stand where the defendant’s conduct ‘fails to
             come within the statutory definition of the crime,’ or despite
             insufficient evidence to support it, would violate the Due
             Process Clause.” Hillie, 14 F.4th at 683 (quoting Griffin v.
             United States, 502 U.S. 46, 59 (1991)). Even where, as here,
             the defendant fails to object to the definition of the offense used
             in the jury charge, his conviction must be set aside if the
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                                                8
             prosecution failed to produce sufficient evidence of one or
             more elements of the properly formulated offense. See id. (“A
             defendant does not ‘waive’ his rights . . . by failing to present
             the correct interpretation of the offense to the district court.”);
             cf. Boyle v. United Techs. Corp., 487 U.S. 500, 513–14 (1988)
             (“If the evidence presented in the . . . trial would not suffice, as
             a matter of law, to support a jury verdict under the properly
             formulated defense, judgment could properly be entered for the
             [defendant] at once, without a new trial. And that is so even
             though . . . [the defendant] failed to object to jury instructions
             that expressed the defense differently, and in a fashion that
             would support a verdict.”).

                  A. UNITED STATES V. FISCHER

                  To assess whether a properly instructed jury could have
             found the essential elements of the offense beyond a reasonable
             doubt, the court must first determine what the essential
             elements of the properly formulated offense in fact are.
             Robertson’s appeal involves only one of section 1512(c)’s
             elements: the requirement that the defendant obstruct an
             official proceeding “corruptly.” 18 U.S.C. § 1512(c). As noted
             supra, United States v. Fischer defined “corruptly” and we are
             required to apply its definition. 64 F.4th 329.4

                 The three Fischer defendants were indicted on various
             offenses arising from their participation in the January 6, 2021,
             Capitol protest. Id. at 332. Of relevance here, each was charged
             with one count of Obstruction of an Official Proceeding under
             18 U.S.C. § 1512(c)(2). Fischer, 64 F.4th at 333. Each
             subsequently moved to dismiss the section 1512(c)(2) count.
             Id. at 333–34. The district court granted each defendant’s

                  4
                    Although Robertson concedes that Fischer does not bind us,
             the precedential effect of an earlier decision is a matter for the court,
             not the parties, to decide.
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             motion to dismiss. Id. at 334. The court first concluded that
             section 1512(c) is ambiguous regarding subsection (c)(2)’s
             relation to subsection (c)(1). The court explained that (c)(2)
             could be read as prohibiting any act that obstructs an official
             proceeding or as prohibiting only obstructive acts similar to
             those covered by (c)(1).5 See United States v. Miller, 589 F.
             Supp. 3d 60, 67–68, 70–71 (D.D.C. 2022). The court chose the
             latter reading, in part because the former would render
             superfluous both subsection (c)(1) as well as (c)(2)’s use of the
             word “otherwise.” Id. at 68, 70. It concluded that (c)(2)
             “requires that the defendant have taken some action with
             respect to a document, record, or other object in order to
             corruptly obstruct, impede or influence an official proceeding.”
             Id. at 78. Because the indictments did not allege that the
             defendants committed obstructive acts in conjunction with “a
             document, record, or other object,” see 18 U.S.C. § 1512(c)(1),
             the court dismissed the section 1512(c)(2) counts. Miller, 589
             F. Supp. 3d at 78; see United States v. Fischer, No. 1:21-cr-
             234, 2022 WL 782413, at *4 (D.D.C. Mar. 15, 2022) (relying
             on Miller to dismiss section 1512(c)(2) count); Min. Order,
             United States v. Lang, No. 1:21-cr-53 (D.D.C. June 7, 2022)
             (same).

                  This Court reversed. The Fischer majority held that under
             “the most natural reading of the statute,” section 1512(c)(2)
             unambiguously “applies to all forms of corrupt obstruction of
             an official proceeding, other than the conduct that is already
             covered by § 1512(c)(1).” 64 F.4th at 336. In so doing, the
             majority explained that “otherwise” as used in (c)(2) does not
             limit the reach of that subsection to obstructive acts similar to

                  5
                      As noted supra, subsection (c)(1) prohibits “alter[ing],
             destroy[ing], mutilat[ing], or conceal[ing] a record, document, or
             other object, or attempts to do so, with the intent to impair the
             object’s integrity or availability for use in an official proceeding.” 18
             U.S.C. § 1512(c)(1).
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                                               10
             those mentioned in subsection (c)(1) but instead means “in a
             different manner.” Id. at 336–37. Regarding section
             1512(c)(2)’s actus reus element, Judge Pan—who authored the
             lead opinion—explained that, notwithstanding that section
             1512(c)(2) “plainly extends to a wide range of conduct,” the
             provision contains “important limitations”: The obstructive act
             described in (c)(2) must be accompanied by “corrupt” intent
             and must target an “official proceeding.” Id. at 339.

                  In a section of her opinion not joined by Judge Walker,
             who was the concurring judge, Judge Pan discussed the
             meaning of “corruptly.” She began with the observation that
             “the allegations against appellees appear to be sufficient to
             meet any proposed definition of ‘corrupt’ intent.” Id. (emphasis
             added). Although she declined to “express[] a preference for
             any particular definition of ‘corruptly,’” she “consider[ed]
             three candidates.” Id.6 Using any of the three definitions, she
             concluded, a jury could find that the defendants acted
             “corruptly.” Id. at 339–40. She then opined that the sufficiency
             of the indictments did not turn on the “precise definition of



                  6
                    First, citing Arthur Andersen LLP v. United States, 544 U.S.
             696, 705 (2005), Judge Pan stated that “corruptly” can mean
             “wrongful, immoral, depraved, or evil.” Fischer, 64 F.4th at 339–40.
             Second, she stated that a defendant has a “corrupt” state of mind if
             he acts “with a corrupt purpose, through independently corrupt
             means, or both.” Id. at 340 (internal quotations omitted) (citing
             United States v. North, 910 F.3d 843, 942–43 (D.C. Cir. 1990)
             (Silberman, J., concurring in part)). Third, Judge Pan suggested that
             “[a]n act is done corruptly if it’s done voluntarily and intentionally
             to bring about either an unlawful result or a lawful result by some
             unlawful method, with a hope or expectation of either financial gain
             or other benefit to oneself or a benefit of another person.” Id. at 340
             (quoting United States v. Aguilar, 515 U.S. 593, 616–17 (1995)
             (Scalia, J., concurring in part)).
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                                            11
             ‘corruptly’” and the “exact contours of ‘corrupt’ intent” could
             be left “for another day.” Id. at 340.

                   Judge Walker’s concurrence—required in part to achieve
             a majority holding—adamantly (and, in my view, correctly)
             disagreed, declaring that “we must define [corruptly] to make
             sense of (c)(2)’s act element,” thereby not joining Judge Pan’s
             failure to do so. Id. at 351 (Walker, J., concurring in part). He
             gave “corruptly” its “long-standing meaning,” which requires
             a defendant to act “with an intent to procure an unlawful benefit
             either for himself or for some other person.” Id. at 352 (quoting
             Marinello v. United States, 138 S. Ct. 1101, 1114 (2018)
             (Thomas, J., dissenting)). Otherwise, he went on, if subsection
             (c)(2) “has a broad act element and an even broader mental
             state,” the statute would have “breathtaking scope.” Id. at 351–
             52. Under his interpretation (Judge Pan’s third option), a
             defendant “must not only know he was obtaining an ‘unlawful
             benefit,’ it must also be his ‘objective’ or ‘purpose.’” Id.
             (cleaned up) (quoting Marinello, 138 S. Ct. at 1114 (Thomas,
             J., dissenting)). Critically, Judge Walker expressly conditioned
             his vote on his reading of “corruptly.” He explained: “[M]y
             reading of ‘corruptly’ is necessary to my vote to join the lead
             opinion’s proposed holding on [the actus reus]. If I did not read
             ‘corruptly’ narrowly, I would join the dissenting opinion.” Id.
             at 362 n.10. He also suggested his reading of “corruptly” may
             be controlling. Id. (citing Marks v. United States, 430 U.S. 188,
             193 (1977)).

                 Judge Katsas dissented. In his view, section 1512(c)(2)
             applies only to obstructive acts related to the specific acts of
             evidence spoliation covered by subsection (c)(1). To reach that
             conclusion, he read “otherwise” in (c)(2) to mean “in a manner
             similar to” rather than “in a manner different from.” Id. at 363
             (Katsas, J., dissenting). He also relied on “normal linguistic
             usage” and interpretive canons to find that subsection (c)(2), a
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                                               12
             catch-all provision, must not render superfluous the longer,
             more complex list of examples in (c)(1). Id. And, most notably
             here, he concluded that the majority’s reading renders
             subsection (c)(2) implausibly broad and unconstitutional in a
             significant number of its applications. Id. at 363, 378–79. On
             the mens rea question, Judge Katsas explained that, in his view,
             none of the three definitions of “corruptly” proposed by Judge
             Pan “inspire[d] much confidence.” Id. at 379. Thus, “[r]ather
             than try to extract meaningful limits out of that broad
             and vague adverb,” he would have “acknowledged that
             Congress limited the actus reus to conduct that impairs the
             integrity or availability of evidence.” Id. at 382.

                  The determinative question for us is whether Fischer
             constitutes a holding regarding the meaning of “corruptly.” It
             does. Judges Pan and Walker agreed that a defendant acts
             “corruptly” if he acts with the intent to obtain an unlawful
             benefit for himself or another. Recall that Judge Pan considered
             three definitions of “corruptly” and concluded that the
             indictments sufficiently charged the Fischer defendants under
             any of the three. Id. at 339–40 (opinion of Pan, J.). And Judge
             Walker conditioned his vote on one definition—the one he
             called the “long-standing meaning” of “corruptly.” See id. at
             352, 362 n.10 (Walker, J., concurring in part). That “long-
             standing meaning” was one of the three definitions Judge Pan
             considered.7 Two judges, then, agreed that the Fischer

                  7
                     Compare id. at 340 (opinion of Pan, J.) (“[A]n act is done
             corruptly if it’s done voluntarily and intentionally to bring about
             either an unlawful result or a lawful result by some unlawful method,
             with a hope or expectation of either financial gain or other benefit to
             oneself or a benefit of another person.” (quoting Aguilar, 515 U.S. at
             616–17 (Scalia, J., concurring in part))), with id. at 352 (Walker, J.,
             concurring in part) (“‘[C]orruptly’ . . . requires a defendant to act
             ‘with an intent to procure an unlawful benefit either for himself or
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                                                13
             defendants could be found to have acted “corruptly” if they
             obstructed the election certification proceeding with the intent
             to obtain an unlawful benefit.8

                  The definition of “corruptly” endorsed by Judge Walker
             binds us because that definition was necessary to create a
             holding. See Fischer, 64 F.4th at 362 n.10 (Walker, J.,
             concurring in part) (“[M]y reading of ‘corruptly’ is necessary
             to my vote to join the lead opinion’s proposed holding on [the
             actus reus]. If I did not read ‘corruptly’ narrowly, I would join
             the dissenting opinion.”). We must follow “those portions of
             the opinion necessary to that result by which we are bound.”
             Util. Air Regul. Grp. v. EPA, 885 F.3d 714, 720 (D.C. Cir.
             2018) (quoting Seminole Tribe of Fla. v. Florida, 517 U.S. 44,
             67 (1996)); see also Holding, Black’s Law Dictionary (11th ed.
             2019) (defining “holding” as “[the] court’s determination of a




             for some other person.’” (quoting Marinello, 138 S. Ct. at 1114
             (Thomas, J., dissenting))).
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                    Although Judge Pan declared that she took “no position on the
             exact meaning of ‘corruptly,’” id. at 341 n.5 (opinion of Pan, J.), that
             cannot be right. In reviewing a motion to dismiss an indictment, the
             operative question is whether the allegations are sufficient for a
             reasonable jury to conclude the defendant committed the charged
             offense. See United States v. Sampson, 371 U.S. 75, 76 (1962). In
             order to uphold the Fischer indictments, then, Judge Pan had to
             conclude that the allegations were sufficient for a jury to find that the
             defendants acted “corruptly.” And, to so conclude, she had to assign
             a meaning to “corruptly” that at least one panel member agreed with.
             See Fischer, 64 F.4th at 362 n.10 (Walker, J., concurring in part)
             (“Without taking a position, the lead opinion could not conclude, as
             it does, that the indictments should be upheld.”).
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             matter of law pivotal to its decision”). Accordingly, I believe
             the improper-benefit reading of “corruptly” binds us.9

                  The majority resists this conclusion by focusing only on
             the result in Fischer while ignoring its rationale. According to
             the majority, “the only holding in Fischer was the majority’s
             ruling reversing the district court’s erroneous interpretation of
             a different part of the statute – the ‘otherwise obstructs’

                  9
                     Even assuming arguendo that Fischer cannot be explained by
             a “single rationale,” the improper-benefit reading of “corruptly”
             controls because Judge Walker’s reading represents the “position
             taken” by the judge “who concurred in the judgments on the
             narrowest grounds.” Marks, 430 U.S. at 193 (quoting Gregg v.
             Georgia, 428 U.S. 153, 169 n.15 (1976) (plurality opinion)). We
             have explained that the “narrowest ground” is a “logical subset of
             other, broader opinions.” King v. Palmer, 950 F.2d 771, 781 (D.C.
             Cir. 1991) (en banc). Although Judge Pan would have upheld the
             indictments under any of three definitions of “corruptly,” see
             Fischer, 64 F.4th at 340, Judge Walker agreed to do so under only
             one of those definitions, see id. at 362 (Walker, J., concurring in
             part). Put differently, Judge Pan concluded that “corruptly” could
             mean A or B or C and, regardless of the definition chosen, the
             indictments should be upheld; Judge Walker, however, concluded
             that “corruptly” must mean C. His concurrence, then, represents the
             “position taken” by the judge “who concurred in the judgments on
             the narrowest grounds.” Marks, 430 U.S. at 193 (quoting Gregg, 428
             U.S. at 169 n.15).
                   The majority argues that Judge Walker’s and Judge Pan’s
             opinions “rely on rationales that do not overlap” because the latter
             focused on the sufficiency of the three possible definitions but the
             former found one definition necessary. Maj. Op. 36–37. That
             characterization does not prevent Judge Walker’s concurrence from
             forming a logical subset of the lead opinion. Another way of phrasing
             Judge Walker’s conclusion that C is necessary is to say that only C
             is sufficient. Thus, Judge Pan found that A or B or C is sufficient and
             Judge Walker found that only C is sufficient. That yields a logical
             subset.
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             clause.” Maj. Op. 32. But that overlooks entirely how the Court
             reached the result of reversal. What gives a judicial opinion
             precedential effect beyond the parties is not its judgment but its
             rationale. Ramos v. Louisiana, 140 S. Ct. 1390, 1404 (2020)
             (plurality opinion) (“It is usually a judicial decision’s
             reasoning—its ratio decidendi—that allows it to have life and
             effect in the disposition of future cases.”); see also United
             States v. Montague, 67 F.4th 520, 531 n.2 (2d Cir. 2023)
             (“[W]e do not apply prior judgments ‘stripped from any
             reasoning’ articulated in those cases.”) (citation omitted). The
             reasoning necessary to the result in Fischer includes Judge
             Walker’s definition of “corruptly” because he expressly
             conditioned his interpretation of the “otherwise obstructs”
             clause on his understanding of “corruptly.” Fischer, 64 F.4th at
             362 n.10 (Walker, J., concurring in part). Thus, Fischer did
             reach a holding on the question before us.

                 B. MEANING OF “CORRUPTLY”

                  Even assuming arguendo that Fischer did not decide what
             “corruptly” means, I believe “corruptly” is best read to require
             the defendant to act with the intent of obtaining an unlawful
             benefit for himself or another. To reach that conclusion, I rely
             on (1) the historical treatment of the “corrupt” mental state;
             (2) other federal statutes requiring evidence of “corrupt” intent;
             (3) the structure of Chapter 73 of Title 18 in general and of
             section 1512(c) in particular; and (4) the rule of lenity.

                 1.   Common-Law Meaning of “Corruptly”

                  As Judge Walker explained in Fischer, “corruptly” has a
             settled mens rea meaning. See Fischer, 64 F.4th at 352
             (Walker, J., concurring in part); see also United States v.
             Aguilar, 515 U.S. 593, 616 (1995) (Scalia, J., concurring in
             part) (“[T]he term ‘corruptly’ in criminal laws has a
             longstanding and well-accepted meaning.”). The criminal
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             proscription against “corrupt” behavior first appeared in
             England around the 13th century—a time when public
             officials, most notably the sheriff, “carried a broad range of
             powers” and “were only loosely accountable to any central
             authority.” Jeremy N. Gayed, “Corruptly”: Why Corrupt State
             of Mind Is an Essential Element for Hobbs Act Extortion Under
             Color of Official Right, 78 Notre Dame L. Rev. 1731, 1737
             (2003). Despite wielding considerable power, officials “were
             both poorly and irregularly paid [by the Crown].” 2 William
             Holdsworth, A History of English Law 294 (4th ed. 1936); see
             Gayed, supra, at 1737 (“Although the sheriff was revenue
             collector, administrator, and law enforcer for the king, he
             received little or no compensation from the crown for his
             duties.”). To compensate for this deficiency, officials exacted
             fees from those they served, which fees were fixed by law or
             custom. See Gayed, supra, at 1737–38; 10 Holdsworth, supra,
             at 153. Because the amount that officials were authorized to
             charge was in their view insufficient, however, they resorted to
             “blatant and widespread disregard for legal and customary
             limits on their fees.” Gayed, supra, at 1738.

                   This practice gave rise to the earliest laws against
             corruption, “particularly th[ose] proscribing extortion and
             bribery.” Id. at 1739. Early extortion laws provided that
             officials “could not knowingly charge more than the customary
             amount.” Fischer, 64 F.4th at 353 (Walker, J., concurring in
             part) (citing Gayed, supra, at 1735–38). Thus, even if an
             official overcharged for his services, if he did not knowingly
             do so, he did not act “corruptly.” See Gayed, supra, at 1748
             (“[T]he case law ostensively defines ‘corruptly’ as . . . the
             purpose to give, take, receive, or accept, anything of value that
             is illegal or inappropriate to that particular office, knowing that
             it is illegal or inappropriate.”). Common-law bribery statutes
             provided that “the mere payment of a fee to an official for a
             benefit was not enough—the bribe payer had to know he was
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             seeking an unlawful benefit.” Fischer, 64 F.4th at 353 (Walker,
             J., concurring in part); see also James Lindgren, The Elusive
             Distinction Between Bribery and Extortion: From the Common
             Law to the Hobbs Act, 35 UCLA L. Rev. 815, 823 (1988)
             (“[E]ven someone who is paying to influence official behavior
             in his favor may not be acting corruptly if he is merely buying
             back fair treatment from an official who threatens to inflict
             unfair treatment.”).

                  The English courts’ understanding of the “corrupt” mental
             state carried over to early American courts. The Supreme Court
             of Pennsylvania declined to hold one official liable for
             charging concededly “illegal” (excessive) fees because he did
             not have “criminal intentions.” Respublica v. Hannum, 1
             Yeates 71, 74 (Pa. 1791) (per curiam). Three years later that
             same court held that a criminal information lay against a justice
             of the peace who released the defendant on his recognizance
             notwithstanding the defendant’s grossly insufficient bail
             payment because the justice of the peace “could not have been
             so ignorant as not to have known, that the taking of
             recognizances in such sums, was a reproach to the public
             justice of the country.” Respublica v. Burns, 1 Yeates 370, 370
             (Pa. 1794) (per curiam). The fact that the justice of the peace
             issued a certificate stating that the defendant “had entered into
             recognizance with sufficient securities, prove[d] that he knew
             he was acting wrong in his office.” Id. at 371. In Runnells v.
             Fletcher, the Supreme Judicial Court of Massachusetts
             assessed whether the defendant, a deputy sheriff collecting a
             debt, had committed extortion by “demanding and receiving of
             the plaintiff a greater fee” than he was authorized to collect. 15
             Mass. 525, 525 (1819). The court decided he had not, reasoning
             that he had not demanded the excess fees “wilfully and
             corruptly” but had believed they were warranted “as a
             compensation for labor and trouble attending a supposed
             injury.” Id. at 526; cf. Jenifer v. Lord Proprietary, 1 H. & McH.
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             535, 535 (Md. 1774) (sheriff convicted of receiving “greater
             and larger fees” than he was entitled to). In Cleaveland v. State,
             the Supreme Court of Alabama rejected the argument that an
             official could be held criminally liable for imposing unlawful
             charges without knowing they were illegal. 34 Ala. 254, 259
             (1859). To be liable, the court held, officers must “intentionally
             charge and take fees which they know at the time they are not
             authorized to collect.” Id.

                  The long history of the “corrupt” mental state, then, has
             imposed two requisites: to act “corruptly,” the defendant must
             intend to secure an unlawful benefit for himself or another; and,
             the defendant must know that the benefit he seeks is unlawful
             or improper. Prominent legal treatises, both historical and
             modern, reaffirm these principles. See 2 Francis Wharton, A
             Treatise on the Criminal Law of the United States § 2518 (7th
             ed. 1874) (to be “corrupt,” act must be done “above all with
             knowledge that it was wrong”); 2 Emlin McClain, Treatise on
             the Criminal Law as Now Administered in the United States
             130 (1897) (official did not extort if he “had ground to believe
             and did believe that he was justified in taking the fees
             received”); Rollin M. Perkins & Ronald N. Boyce, Criminal
             Law 446–47 (3d ed. 1982) (“[E]xtortion is not committed by
             the officer who innocently receives an unlawful fee as a result
             of an honest mistake of fact or of law.”). In addition, modern
             legal dictionaries confirm the unlawful-benefit element of
             “corruptly.” Black’s Law Dictionary states, “[a]s used in
             criminal-law statutes, corruptly usu[ally] indicates a wrongful
             desire for pecuniary gain or other advantage.” Corruptly (def.
             2), Black’s Law Dictionary (11th ed. 2019). And Ballentine’s
             Law Dictionary defines “corruptly” as “[w]rongfully; acting
             with the intent to obtain an improper advantage for self or
             someone else, inconsistent with official duty and the rights of
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             others.” Corruptly, Ballentine’s Law Dictionary 276 (3d ed.
             1969).10

                  2.   “Corruptly” Used in In Pari Materia Statutes

                  Like common-law extortion and bribery, modern federal
             statutes using a “corrupt” mens rea generally require proof that
             the defendant acted with the intent to secure an unlawful

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                      Interpreting a different criminal statute, the Supreme Court
             has recently noted that “[w]hen Congress transplants a common-law
             term, the ‘old soil’ comes with it.” United States v. Hansen, 143 S.
             Ct. 1932, 1944 (2023) (citation and some internal quotation marks
             omitted). Yet the majority here spends little time discussing the
             history just recounted. See Maj. 39–40. In fact, the only
             counterevidence it cites is a lone contempt statute from 1831, which
             “does not include any mention of a required intent to procure a
             benefit.” Id. at 40 (discussing Act of Mar. 2, 1831, ch. 98, § 2, 4 Stat.
             487). But the statute need not spell out what is already inherent in the
             mens rea of “corruptly,” as the common-law history of the word
             demonstrates.
                  The majority also argues that the common-law meaning “would
             come as a surprise” to our sister circuits that have not read the
             unlawful-benefit requirement into section 1512(c)(2). Id. at 28–29
             (collecting authorities). If so, the majority’s definition would come
             equally as a surprise. None of the majority’s authorities adopts its
             “independently unlawful means” definition and some outright
             conflict with it. Cf. Maj. Op. 26–27 and 22 n.3 (rejecting the
             argument that the defendant must act “dishonestly” and expressing
             doubt that he must act “knowingly”), with United States v. Bedoy,
             827 F.3d 495, 510 (5th Cir. 2016) (requiring the defendant to act
             “knowingly and dishonestly”); United States v. Delgado, 984 F.3d
             435, 452 (5th Cir. 2021) (same); United States v. Mintmire, 507 F.3d
             1273, 1289 (11th Cir. 2007) (same); United States v. Gordon, 710
             F.3d 1124, 1151 (10th Cir. 2013) (same). Further, not one of the
             cases the majority cites even mentions the common-law history of
             “corruptly.” They are, then, of little help in construing the common-
             law history of “corruptly.”
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             benefit. For example, 18 U.S.C. § 201, titled “[b]ribery of
             public officials and witnesses,” imposes penalties on an
             individual who “corruptly gives, offers or promises anything
             of value to any public official . . . with intent . . . to influence
             any official act.” 18 U.S.C. § 201(b)(1)(A) (emphasis added).
             Courts have interpreted “corruptly” in that statute to mean that
             the defendant must intend that the bribe be part of a “quid pro
             quo.” United States v. Tomblin, 46 F.3d 1369, 1379–80 (5th
             Cir. 1995); United States v. Terry, 707 F.3d 607, 612 (6th Cir.
             2013). That is, the bribe payer “must intend to secure a benefit
             from the bribe taker and vice versa.” Fischer, 64 F.4th at
             354 (Walker, J., concurring in part).

                  “Corruptly” is also used in other obstruction-of-justice
             statutes. For most of those provisions, courts have not
             interpreted “corruptly” to require proof that the defendant
             intended to secure an unlawful benefit. As Judge Walker
             observed in Fischer, that omission reflects that, for many
             provisions, “the connection between ‘corruptly’ and the
             defendant’s intent to procure an unlawful benefit is implicit,”
             as the statutes criminalize conduct that necessarily results in
             securing some unlawful benefit. Id. at 362 (Walker, J.,
             concurring in part). For example, 18 U.S.C. § 1503
             criminalizes “corruptly” injuring or influencing a juror or
             judicial officer; 18 U.S.C. § 1512(b)(2) makes it unlawful to
             “corruptly persuade[]” someone to “withhold testimony,”
             destroy evidence or “evade legal process”; and 18 U.S.C.
             § 1517 criminalizes “corruptly” obstructing “any examination
             of a financial institution by an agency of the United States.”
             With respect to these statutes, then, the improper-benefit
             requirement need not be express because commission of the
             actus reus necessarily results in an improper advantage—
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             influencing a juror, suppressing evidence or avoiding financial
             investigation, respectively.11

                  If a criminal statute prohibits a broad range of conduct, as
             section 1512(c)(2) does, however, “it is problematic to leave
             implicit the long-established requirement that a defendant acts
             ‘corruptly’ only when he seeks to secure an unlawful benefit.”
             Fischer, 64 F.4th at 355 (Walker, J., concurring in part). That
             statutory silence is one reason courts give “corruptly” its
             narrow meaning in 26 U.S.C. § 7212(a), a statute that imposes
             penalties on any individual who “corruptly” “endeavors to
             obstruct or impede[] the due administration of [the Internal
             Revenue Code].” See, e.g., United States v. Floyd, 740 F.3d 22,
             31 (1st Cir. 2014) (“[T]here is a consensus among the courts of
             appeals that ‘corruptly,’ as used in section 7212(a), means
             acting with an intent to procure an unlawful benefit either for
             the actor or for some other person.”) (collecting cases); see also
             Eric J. Tamashasky, The Lewis Carroll Offense: The Ever-
             Changing Meaning of “Corruptly” Within the Federal
             Criminal Law, 31 J. LEGIS. 129, 130 (2004) (“[T]he common
             law meaning [of ‘corruptly’] already is used consistently across
             the federal circuits in the context of prosecutions under 26
             U.S.C. § 7212(a).”). Whereas suppressing evidence within the
             meaning of section 1512(b)(2) or influencing a juror under
             section 1503 “will almost necessarily result in an improper
             advantage to one side in the case,” obstructing the

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                      That the improper-benefit requirement is frequently implicit,
             rather than express, has been recognized. See Aguilar, 515 U.S. at
             616–17 (Scalia, J., concurring in part) (“Acts specifically intended to
             ‘influence, obstruct, or impede, the due administration of
             justice . . . are necessarily corrupt.” (quoting 18 U.S.C. § 1503));
             North, 910 F.2d at 939–46 (Silberman, J., concurring in part)
             (reading “corruptly” in section 1505 as not including an unlawful-
             benefit requirement “can be taken to express the view that any
             endeavor to obstruct a judicial proceeding is inherently . . . corrupt”).
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             administration of the Internal Revenue Code under section
             7212(a) could encompass conduct that does not result in a party
             “gain[ing] an improper advantage.” United States v. Reeves,
             752 F.2d 995, 999 (5th Cir. 1985). With respect to the latter
             statute, then, courts have required that the improper-benefit
             requirement be explicit. E.g., id. at 999–1002.

                  Like in section 7212(a), section 1512(c)(2)’s actus reus
             can capture conduct that does not produce an improper benefit.
             Not every attempt to influence an official proceeding is carried
             out “corruptly.” For example, a lobbyist “who persuades a
             congressman to ask hard questions at a committee hearing has
             influenced the proceeding” and might therefore come within
             section 1512(c)(2). Fischer, 64 F.4th at 361 (Walker, J.,
             concurring in part). But the lobbyist has not acted “corruptly.”
             Thus, to ensure that such conduct does not trigger section
             1512(c)(2), the improper-benefit requirement must be
             rigorously enforced. See id. at 356 (“[T]he more conduct an
             obstruction statute reaches, the more vigilantly we must apply
             the long-established . . . meaning of ‘corruptly.’”).

                 3.   Statutory Structure and History: Chapter 73 and
                      Section 1512

                  Both the structure and history of Chapter 73 in general and
             of section 1512 specifically offer further support for the
             unlawful-benefit reading. Chapter 73 comprises twenty-two
             distinct obstruction-of-justice sections, several prescribing
             multiple offenses. Section 1512 was initially enacted as part of
             the Victim and Witness Protection Act of 1982, Pub. L. No. 97-
             291, § 4, 96 Stat. 1248, 1249. The codified statute is titled
             “[t]ampering with a witness, victim, or an informant” and
             criminalizes specific types of obstructive conduct, including
             “kill[ing] or attempt[ing] to kill another person” in order to
             prevent the person from attending or testifying at an official
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                                           23
             proceeding, 18 U.S.C. § 1512(a)(1)(A); “us[ing] physical force
             or the threat of physical force” or “knowingly us[ing]
             intimidation, threat[s], or corrupt[] persua[sion]” in order to
             “influence, delay, or prevent the testimony of any person in an
             official proceeding,” id. § 1512(a)(2)(A), (b)(1), or “caus[ing]
             or induc[ing] any person to” “withhold [evidence] from an
             official proceeding” or “impair [an] object’s integrity or
             availability for use in an official proceeding,” id.
             § 1512(a)(2)(B)(i), (b)(2)(B); and “intentionally harass[ing]
             another person” to prevent the person from attending or
             testifying at an official proceeding, id. § 1512(d)(1).

                  Section 1512(c), the provision under which Robertson was
             charged and convicted, became law twenty years later as part
             of the Corporate Fraud Accountability Act of 2002, see Pub. L.
             No. 107-204, § 1102, 116 Stat. 745, 807, one of several acts
             composing the broader Sarbanes-Oxley Act of 2002, the
             enactment of which “was prompted by the exposure of [energy
             giant] Enron’s massive accounting fraud and revelations that
             the company’s outside auditor, Arthur Andersen LLP, had
             systematically       destroyed    potentially    incriminating
             documents,” see Yates v. United States, 574 U.S. 528, 535–36
             (2015) (plurality opinion). The Enron scandal revealed a
             “yawning gap” in the obstruction-of-justice enforcement
             scheme: although then-current statutes prohibited an individual
             from inducing someone else to destroy evidence, none imposed
             liability on an individual who destroyed evidence himself. Id.
             at 557–58 (Kagan, J., dissenting). In 2002, the Congress cured
             that “conspicuous omission” by enacting 18 U.S.C. § 1519,
             which criminalizes altering or destroying “any record,
             document, or tangible object” with the intent to impede or
             influence a federal investigation. See Yates, 574 U.S. at 536
             (plurality opinion).
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                  Section 1512(c) was enacted at the same time as section
             1519 but as a last-minute addition, having been “introduced in
             a floor amendment late in the legislative process.” Fischer, 64
             F.4th at 347 (citing 128 Cong. Rec. S6542 (daily ed. July 10,
             2002)). Section 1512(c) has two subsections: “(c)(1) prohibits
             ‘corruptly’ altering or destroying a ‘document, or other
             object . . . with the intent to impair the object’s integrity or
             availability for use in an official proceeding’” and “(c)(2) is a
             residual clause, making it an offense to ‘corruptly’ ‘otherwise
             obstruct[], influence[], or impede[] any official proceeding.’”
             Id. at 358 (Walker, J., concurring in part) (alterations in
             original). “Subsection (c)(2)’s inconspicuous place within the
             statutory scheme suggests that it is an odd place for Congress
             to hide a far-reaching criminal provision,” id., including, in
             particular, the egregiously ill-fit of prosecuting trespassing
             protesters. Giving “corruptly” its common-law meaning
             correctly limits its reach. “Even though (c)(2) has a broad act
             element—there are many ways to obstruct, influence, or
             impede an official proceeding—its mental state keeps it in
             check: A defendant is liable only if he intends to procure an
             unlawful benefit.” Id. Indeed, to conclude that hundreds—
             perhaps thousands—of individuals entered the Capitol building
             “corruptly”—by reading “corruptly” to mean nothing more
             than “acting with an independently unlawful purpose or
             through independently unlawful means”—would strip the
             word of any independent meaning.

                 4.   Other—Flawed—Definitions of “Corruptly”

                  Citing Arthur Andersen LLP v. United States, 544 U.S. 696
             (2005), the lead Fischer opinion suggested that “corruptly”
             may simply mean “wrongful, immoral, depraved, or evil.” 64
             F.4th at 340 (opinion of Pan, J.) (quoting Arthur Andersen, 544
             U.S. at 705). And other courts have adopted this definition (or
             a variation thereof), both in the context of section 1512(c), see,
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             e.g., United States v. Matthews, 505 F.3d 698, 706 (7th Cir.
             2007), and related obstruction statutes, see, e.g., United States
             v. Edlind, 887 F.3d 166, 173 (4th Cir. 2018) (interpreting 18
             U.S.C. § 1512(b)); United States v. Edwards, 869 F.3d 490,
             498 (7th Cir. 2017) (same); United States v. Quattrone, 441
             F.3d 153, 170, 173–76 (2d Cir. 2006) (interpreting 18 U.S.C.
             §§ 1503, 1505, 1512(b)). Those cases have found this
             definition appealing because it gives “corruptly” its common
             or colloquial meaning.12 And although, as a general matter,
             “words in statutes should be given their common or popular
             meanings[] in the absence of [a] congressional definition,”
             North, 910 F.2d at 881, “[s]tatutory language need not be
             colloquial,” Aguilar, 515 U.S. at 616 (Scalia, J., concurring in
             part). Indeed, “where Congress borrows terms of art in which
             are accumulated the legal tradition and meaning of centuries of
             practice, it presumably knows and adopts the cluster of ideas
             that were attached to each borrowed word.” Morissette v.
             United States, 342 U.S. 246, 263 (1952). Thus, there are
             compelling reasons that “corruptly” should not be given a
             colloquial meaning in section 1512(c).

                  For starters, Arthur Andersen, the primary authority for the
             colloquial definition, simply noted that “corruptly” is

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                       Lay dictionaries define “corruptly” by using the adverbial
             form of “corrupt.” Corruptly, Webster’s Third New International
             Dictionary 512 (1976) (“[I]n a corrupt manner; by corruption.”);
             Corruptly, Oxford English Dictionary (2d ed. 1989) (“In a corrupt
             or depraved manner; pervertedly; by means of corruption or
             bribery.”). “Corrupt,” in turn, is defined as “depraved, evil; perverted
             into a state of moral weakness or wickedness.” Webster’s Third New
             International Dictionary, supra, at 512; see Corrupt, Oxford English
             Dictionary, supra (“Debased in character; infected with evil;
             depraved; perverted; evil, wicked.”); Corrupt, American Heritage
             College Dictionary 321 (4th ed. 2007) (“Marked by immorality and
             perversion; depraved.”).
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                                            26
             “normally associated with” the adjectives “wrongful, immoral,
             depraved, or evil.” 544 U.S. at 705. The opinion never
             “suggested that this adjectival string could supply a complete
             definition.” Fischer, 64 F.4th at 379 (Katsas, J., dissenting);
             accord United States v. Watters, 717 F.3d 733, 735 (9th Cir.
             2013) (“While the Court in Arthur Andersen did
             observe . . . that ‘corruptly’ is generally associated with
             ‘wrongful, immoral, depraved, or evil,’ the Court’s holding
             was not that the definition of ‘corruptly’ had to include those
             words.” (quoting Arthur Andersen, 544 U.S. at 705)). Indeed,
             the Arthur Andersen Court expressly declined to “explore[]”
             the “outer limits” of the term because, regardless of the precise
             definition, the jury instructions in question “simply failed to
             convey the requisite consciousness of wrongdoing.” Arthur
             Andersen, 544 U.S. at 706. The Arthur Andersen defendant
             argued that “corruptly” in 18 U.S.C. § 1512(b)—a different
             obstruction provision—meant “‘knowingly and dishonestly,
             with the specific intent to subvert or undermine the integrity’
             of a proceeding.” Id. (quotation omitted). Instructing the jury,
             however, the district court declined to use “dishonestly” and
             instead added “impede” to “subvert or undermine.” Id. The
             instruction thus read: “The word ‘corruptly’ means having an
             improper purpose. An improper purpose, for this case, is an
             intent to subvert, undermine, or impede the fact-finding ability
             of an official proceeding.” United States v. Arthur Andersen,
             LLP, 374 F.2d 281, 293 (5th Cir. 2004). On review, the
             Supreme Court found the two changes “significant” because
             “dishonesty” was no longer “necessary to a finding of guilt”
             and “impede” had “broader connotations” than “subvert or
             undermine.” Arthur Andersen, 544 U.S. at 706–07 (alterations
             accepted). Thus, the district court’s instruction “diluted the
             meaning of ‘corruptly’ so that it covered innocent conduct.” Id.
             at 706. The Court also implied that a narrowing construction of
             “corruptly” was needed to counteract the statute’s broad actus
             reus: “The dictionary defines ‘impede’ as ‘to interfere with or
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             get in the way of the progress of’ . . . . By definition, [that
             applies to] anyone who innocently persuades another to
             withhold information from the Government . . . . With regard
             to such innocent conduct, the ‘corruptly’ instructions did no
             limiting work whatsoever.” Id. at 707 (quotation omitted).

                  Arthur Andersen plainly warns against giving “corruptly”
             in section 1512(c) its colloquial meaning. In fact, because
             section 1512(c)’s actus reus is broader than section 1512(b)’s
             actus reus, the need to cabin “corruptly” is even more pressing
             here. Whereas section 1512(b) reaches comparatively discrete
             categories of wrongful conduct such as causing someone to
             withhold evidence, section 1512(c)(2) encompasses any
             attempt to influence or impede an official proceeding,
             including conduct that is otherwise lawful. See Fischer, 64
             F.4th at 344–45. Moreover, the defendant’s mental state is
             ordinarily a question of fact for the jury. See North, 910 F.2d
             at 942 (Silberman, J., concurring in part) (“[I]t seems
             inescapable that this is a question of fact for the jury to
             determine whether an endeavor was undertaken corruptly.”).
             Reading section 1512(c) to criminalize “wrongful, immoral,
             depraved, or evil” conduct would support a guilty verdict based
             on “little more than a jury’s subjective disapproval of the
             conduct at issue.” See Fischer, 64 F.4th at 379–80 (Katsas, J.,
             dissenting); see also Kolender v. Lawson, 461 U.S. 352, 358
             (1983) (“Where the legislature fails to provide . . . minimal
             guidelines, a criminal statute may permit ‘a standardless sweep
             [that] allows policemen, prosecutors, and juries to pursue their
             personal predilections.’” (alteration in original) (quoting Smith
             v. Goguen, 415 U.S. 566, 575 (1974))).13


                 13
                      The majority also relies heavily on Judge Silberman’s
             separate opinion in North, which suggests that a defendant’s use of
             “independently criminal” means satisfies the mens rea of
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                  Defining “corruptly” by reference to ambiguous adjectives
             is also objectionable because this Court expressly rejected that
             definition in United States v. Poindexter, 951 F.2d 369 (D.C.
             Cir. 1991). That case involved the prosecution of Admiral John
             Poindexter for his role in the Iran-Contra Affair. We held that
             “corruptly” as used in 18 U.S.C. § 1505 was vague “on its face”
             and that the “various dictionary definitions of the adjective
             ‘corrupt’” did “nothing to alleviate the vagueness problem.” Id.
             at 378. “Words like ‘depraved,’ ‘evil,’ ‘immoral,’ ‘wicked,’
             and ‘improper,’” we explained, did not illuminate the meaning
             of “corruptly” because they “are no more specific—indeed they
             may be less specific—than ‘corrupt.’” Id. at 379; see also
             Cartwright v. Maynard, 822 F.2d 1477, 1489 (10th Cir. 1987)
             (en banc) (“Vague terms do not suddenly become clear when
             they are defined by reference to other vague terms.”).

                  Consider an alternative definition of “corruptly”—the one
             the majority adopts. “Corruptly,” it contends, encompasses
             “act[ing] with a corrupt purpose or via independently corrupt
             means.” Maj. Op. 17.14 To avoid circularity, the majority then


             “corruptly.” See North, 910 F.2d at 943 (Silberman, J., concurring in
             part) (interpreting 18 U.S.C. § 1505). But Judge Silberman was in
             dissent in his discussion of the meaning of “corruptly.” See id. at 946
             (noting that the majority “reaches the opposite result” and “renders
             the word ‘corruptly’ meaningless”). Nor did he discuss the common-
             law history of the word in reaching his conclusion—an oversight that
             matters here, especially as we are plainly not bound by his view.
                  14
                      Note (although it hardly bears mentioning) that “corruptly”
             requires something more than the specific intent to commit the actus
             reus. If the specific intent to influence, obstruct or impede a
             proceeding were enough, section 1512(c)(2) would be untenably
             broad, capturing anyone who attempts to influence any official
             proceeding for any reason. If we were to adopt that interpretation,
             “we might as well convert all of Washington’s office buildings into
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                                               29
             equates “corrupt” with “unlawful.” Id. at 20–21.15 My
             colleagues’ definition gives section 1512(c)(2) an eye-popping
             sweep. Start with “unlawful means.” As Judge Katsas
             explained in Fischer, “even if independently unlawful means
             were necessary, section 1512(c)(2) still would cover large
             swaths of advocacy, lobbying, and protest.” Fischer, 64 F.4th
             at 380 (Katsas, J., dissenting). Consider “[a] protestor who
             demonstrates outside a courthouse, hoping to affect jury
             deliberations.” Id. Or a federal employee who convinces a
             congressman to change his vote on pending legislation. Id. Or
             an individual who peacefully protests a bill in the Senate
             gallery. Id. Under a “corrupt means” interpretation of
             “corruptly,” all three would violate section 1512(c)(2) because
             all attempted to influence an official proceeding by violating
             an independent statute to do so. Id.; see also 18 U.S.C. § 1507
             (prohibiting picketing outside courthouse with intent to
             influence judge, juror or witness); id. § 1913 (prohibiting
             lobbying by agency employees); 40 U.S.C. § 5104(e)(2)(G)
             (prohibiting demonstrating inside Capitol). As a result, each
             would face up to twenty years in prison, rather than a maximum



             prisons.” North, 910 F.2d at 942 (Silberman, J., concurring in part).
             Moreover, reading “corruptly” to require only the specific intent to
             influence, obstruct or impede a proceeding would be inconsistent
             with even the colloquial meaning of corruptly, which implies some
             degree of wrongfulness. See Arthur Andersen, 544 U.S. at 706
             (“corruptly” requires “consciousness of wrongdoing”).
                  15
                       The majority’s equation of “corruptly” with “unlawfully”
             belies its assertion that it is merely adopting the “ordinary meaning”
             of the word. See Maj. Op. 14. According to the majority, the plain
             meaning of “corruptly” (even in a criminal statute) is “depraved, evil:
             perverted into a state of moral weakness or wickedness.” Id. at 15
             (quoting North, 910 F.2d at 881). But “unlawfully” means something
             else entirely. Acts may be evil or depraved and yet lawful. And acts
             may not be evil or depraved and yet be unlawful.
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             of one year, a criminal fine and six months, respectively. See
             Fischer, 64 F.4th at 380 (Katsas, J., dissenting).

                  Like Judge Katsas, I doubt whether, in enacting section
             1512(c)(2), the Congress intended to “supercharge a range of
             minor advocacy, lobbying, and protest offenses into 20-year
             felonies.” Id. Take 18 U.S.C. § 1507, the statute prohibiting
             protesting outside a courthouse with intent to influence a judge
             or juror. The Congress specifically provided that conviction
             under that provision warranted no more than one year in prison.
             See 18 U.S.C. § 1507 (violators “shall be fined under this title
             or imprisoned not more than one year, or both”). The
             Congress’s policy choice would be nullified if the same person
             could be imprisoned for up to twenty years under section
             1512(c)(2) for engaging in precisely the same conduct. Yet that
             result is possible under the majority’s reading. An individual
             convicted under section 1507 could also be convicted under
             section 1512(c)(2) because anyone who protests outside a
             courthouse with the intent to influence a judge or juror
             necessarily intends to influence, obstruct or impede an official
             proceeding by unlawful means. Thus, although the majority’s
             reading “create[s] an escape hatch for those who influence an
             official proceeding without committing any other crime,” it
             nevertheless “gives section 1512(c)(2) an improbably broad
             reach.” Fischer, 64 F.4th, at 380 (Katsas, J., dissenting).

                  The majority responds by imposing a limitation plucked
             from thin air. It suggests that the “unlawful-means”
             requirement is satisfied only when a defendant acts through
             “independently felonious means.” Maj. Op. 24–25. But as far
             as I can tell, no decision of any court has even suggested, much
             less held, that “corruptly” can bear such a meaning. And in any
             event, imposing a “felonious means” requirement fails to cure
             the remarkable overbreadth of section 1512(c)(2) as interpreted
             by the majority. Even with that limitation, the majority’s
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                                              31
             reading is difficult to reconcile with Chapter 73’s reticulated
             scheme of penalties. For example, 18 U.S.C. § 1506 sets forth
             a maximum penalty of five years’ imprisonment for feloniously
             stealing a record or other process used in a court proceeding.
             Under the majority’s interpretation of “corruptly,” it would be
             impossible to violate section 1506 (aside from the separate
             prohibition on posting false bail) without also violating section
             1512(c)(2).

                  Moreover, defining “corruptly” to mean “acting through
             independently unlawful means” requires the jury to find
             beyond a reasonable doubt that the defendant committed some
             other offense, aside from section 1512(c), in order to find him
             guilty of violating section 1512(c). The majority’s definition
             effectively requires proof of a predicate offense that is not
             listed in the statute, an atextual and baffling result. The
             majority fails to point to a single statute in which the Congress
             uses a mens rea term—much less this particular mens rea
             term—to impose a similar requirement.16

                  The “unlawful purpose” facet of the majority’s definition
             is no less dubious. Defining “corruptly” to mean, in essence,
             “acting with an independently unlawful purpose” does nothing
             to limit the scope of section 1512(c)(2). What does it mean to
             act with an independently unlawful purpose? See Maj. Op. 18.
             Perhaps the majority means that the defendant must intend to
             violate a law other than section 1512(c)(2). But if so, the

                  16
                      The majority denies that its definition requires proof of a
             predicate offense because there are ways “to establish corrupt intent
             or conduct” other than “proof of independently felonious means.”
             Maj. Op. 23 n.4. But the majority has tethered the “core” meaning of
             “corruptly” to the defendant’s independently unlawful purpose or use
             of independently unlawful means, see id. at 21–22, requiring the jury
             to look for offenses outside the four corners of section 1512(c)(2) to
             assess what is independently unlawful.
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                                           32
             defendant would always act “corruptly” so long as he also has
             a distinct illegal purpose—distinct from corruption, that is. If
             that reading is truly what the Congress intended in enacting
             section 1512(c)(2), sadly, Mark Twain had it right.17

                  Unlike the majority’s definition of “corruptly,” the
             unlawful-benefit definition properly limits the scope of section
             1512(c)(2). The requirement that a defendant act with intent to
             obtain an unlawful benefit means section 1512(c)(2) will
             neither cover “large swaths of advocacy, lobbying, and
             protest,” Fischer, 64 F.4th at 380 (Katsas, J., dissenting), nor
             “supercharge a range of minor advocacy, lobbying, and protest
             offenses into 20-year felonies.” Id. Section 1512(c)(2) will
             apply only where a defendant intends to secure an unlawful
             benefit for himself or another and knows the benefit he seeks
             is unlawful. See Marinello, 138 S. Ct. at 1114 (Thomas, J.,
             dissenting).

                 5.    Rule of Lenity

                  If Fischer had not decided the meaning of “corruptly,” and
             if the remainder of the foregoing analysis left any doubt, I
             believe the rule of lenity tips the scales in Robertson’s favor.
             The rule of lenity instructs courts that “ambiguities about the
             breadth of a criminal statute should be resolved in the
             defendant’s favor.” United States v. Davis, 139 S. Ct. 2319,
             2333 (2019). Or, as the rule is often expressed, “when choice
             has to be made between two readings of what conduct Congress
             has made a crime, it is appropriate, before we choose the
             harsher alternative, to require that Congress should have
             spoken in language that is clear and definite.” Dowling v.
             United States, 473 U.S. 207, 214 (1985) (quoting Williams v.
             United States, 458 U.S. 279, 290 (1982)). The Supreme Court

                 17
                       2 Albert Bigelow Paine, Mark Twain, A Biography 724
             (1912).
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                                             33
             has frequently applied the rule of lenity in obstruction-of-
             justice cases. See, e.g., Yates, 574 U.S. at 547–48 (plurality
             opinion); Arthur Andersen, 544 U.S. at 703–04; Aguilar, 515
             U.S. at 600; see also Fischer, 64 F.4th 382 (Katsas, J.,
             dissenting) (“In the specific context of obstruction of justice,
             the Supreme Court repeatedly has emphasized the need for
             caution.”). I would follow the Supreme Court’s instruction.

                 C. DID ROBERTSON ACT “CORRUPTLY”?

                  Having concluded that “corruptly” is best read to require a
             defendant to act with the intent of obtaining an unlawful benefit
             for himself or another, I turn again to the facts of this case. The
             question, to reiterate, is whether a properly instructed juror
             could have found Robertson guilty under section 1512(c)
             beyond a reasonable doubt. Hillie, 14 F.4th at 682. The answer
             is no. There is no evidence in the record suggesting Robertson
             obstructed the election certification proceeding in order to
             obtain an unlawful benefit for himself or someone else. In fact,
             the Government does not contend that any such evidence
             exists.

                  In denying Robertson’s motion for judgment of acquittal,
             the district court isolated the following evidence to support the
             jury’s finding that Robertson acted “corruptly”:
             (1) communications Robertson made before and after the
             January 6th protest; (2) Robertson’s intent to use violence;
             (3) Robertson’s decision to carry a dangerous weapon—a large
             wooden stick—outside and inside the Capitol building;
             (4) Robertson’s admission that he entered and remained in the
             Capitol without lawful authority and engaged in disorderly
             conduct in a restricted area; (5) Fracker’s testimony that, when
             he and Robertson arrived at the Capitol building, MPD officers
             were “in trouble” and the crowd was “out of hand”;
             (6) Robertson impeded MPD officers as the officers marched
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             through the protesters and (7) Robertson banged his wooden
             stick while the protesters chanted in the Capitol Crypt. None of
             this evidence comes close to establishing at all—much less
             beyond a reasonable doubt—that Robertson acted with the
             intent to obtain an unlawful benefit for himself or another.18

                 I would vacate Robertson’s section 1512(c)(2) conviction
             and remand for resentencing on the remaining counts.

                 Accordingly, I respectfully dissent.




                 18
                     The “unlawful benefit” the defendant seeks must be financial,
             professional or exculpatory. See, e.g., Marinello, 138 S. Ct. at 1105
             (avoiding taxes); Aguilar, 515 U.S. at 595 (concealing wrongdoing
             through illegal disclosure of wiretap); North, 910 F.2d at 851
             (fabricating false testimony and destroying documents); see also
             Corruptly (def. 2), Black’s Law Dictionary (11th ed. 2019)
             (“corruptly usu[ally] indicates a wrongful desire for pecuniary gain
             or other advantage”). Acquittal is thus required if, as I view the
             evidence, Robertson merely intended to protest the outcome of the
             election or his (perceived) disenfranchisement or to make some other
             political point.
                   The majority mistakenly insists that my view conflicts with
             Judge Walker’s Fischer opinion. Maj. Op. 37–38. On the contrary,
             Judge Walker did not decide how broadly to construe the “unlawful
             benefit” requirement. He merely stated that he was “not so sure” that
             the sought-after benefit must be “financial, professional, or
             exculpatory.” Fischer, 15 64 F.4th at 356 n.5 (Walker, J., concurring
             in part) (citation omitted). And even if this panel agreed with Judge
             Walker’s suggestion that the office of the President “may” qualify as
             “a professional benefit,” see id., we would remain free to conclude
             that there was no evidence presented at trial to show that Robertson
             intended—either alone or collectively—to procure that benefit.
